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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

------------------------------------------------------------ X
                                                             :
In re                                                        :      Chapter 11
                                                             :
CHECKOUT HOLDING CORP., et al.,                              :      Case No. 18-[_____] (___)
                                                             :
                  Debtors.1                                  :      Joint Administration Requested
                                                             :
------------------------------------------------------------ X

            MOTION OF DEBTORS PURSUANT TO 11 U.S.C. §§ 105(a)
            AND 362 FOR ENTRY OF INTERIM AND FINAL ORDERS
         ESTABLISHING NOTIFICATION PROVISIONS AND APPROVING
        RESTRICTIONS ON (A) CERTAIN TRANSFERS OF INTERESTS IN
    DEBTORS AND (B) CLAIMS OF CERTAIN WORTHLESS STOCK DEDUCTIONS

                   Checkout Holding Corp. and its affiliated debtors in the above-captioned chapter

11 cases, as debtors and debtors in possession (collectively, the “Debtors”), respectfully

represent as follows in support of this motion (the “Motion”):

                                                 Background

                   1.     On the date hereof (the “Petition Date”), the Debtors each commenced

with the United States Bankruptcy Court for the District of Delaware (the “Court”) a voluntary

case under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”). The

Debtors are authorized to continue to operate their businesses and manage their properties as

debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No trustee,

examiner, or statutory committee of creditors has been appointed in these chapter 11 cases.


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 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Catalina Marketing Corporation (9007); Catalina Marketing Procurement, LLC (9333); Catalina
Marketing Technology Solutions, Inc. (8728); Catalina Marketing Worldwide, LLC (9687); Cellfire Inc. (5599);
Checkout Holding Corp. (4651); Modiv Media, Inc. (3507); PDM Group Holdings Corporation (9148); PDM
Holdings Corporation (5025); PDM Intermediate Holdings A Corporation (6409); and PDM Intermediate Holdings
B Corporation (3278). The Debtors’ principal offices are located at 200 Carillon Parkway, St. Petersburg, FL
33716.




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                   2.   Contemporaneously herewith, the Debtors have filed a motion requesting

joint administration of the chapter 11 cases pursuant to rule 1015(b) of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”) and rule 1015-1 of the Local Rules of

Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of

Delaware (the “Local Rules”).

                   3.   Before the Petition Date, the Debtors, with the support of their secured

lenders, began the solicitation of votes on their Joint Prepackaged Chapter 11 Plan of Checkout

Holding Corp. and Its Affiliated Debtors (the “Prepackaged Plan”), through their Disclosure

Statement for Joint Prepackaged Chapter 11 Plan of Checkout Holding Corp. and Its Affiliated

Debtors pursuant to sections 1125 and 1126(b) of the Bankruptcy Code. The Debtors expect that

the Prepackaged Plan will be accepted by all classes entitled to vote in excess of the statutory

thresholds specified in section 1126(c) of the Bankruptcy Code.           Consistent with their

obligations under that certain Restructuring Support Agreement, dated as of December 11, 2018

(as amended from time to time and including all exhibits thereto, the “RSA”), the Debtors are

seeking to emerge from chapter 11 on an expedited timeframe.

                   4.   Information regarding the Debtors’ business and capital structure and the

circumstances leading to the commencement of these chapter 11 cases is set forth in the

Declaration of Robert A. Del Genio (the “Del Genio Declaration”), which has been filed with

this Court contemporaneously with the Motion.

                                           Jurisdiction

                   5.   The Court has jurisdiction to consider this matter pursuant to 28 U.S.C.

§§ 157 and 1334, and the Amended Standing Order of Reference from the United States District

Court for the District of Delaware, dated February 29, 2012. This is a core proceeding pursuant

to 28 U.S.C. § 157(b) and, pursuant to Local Rule 9013–1(f), the Debtors consent to the entry of


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a final order by the Court in connection with this Motion to the extent that it is later determined

that the Court, absent consent of the parties, cannot enter final orders or judgments consistent

with Article III of the United States Constitution. Venue is proper before the Court pursuant to

28 U.S.C. §§ 1408 and 1409.

                                         Relief Requested

                   6.   Pursuant to sections 105(a) and 362 of the Bankruptcy Code, the Debtors

request entry of interim and final orders authorizing the Debtors to establish procedures (the

“Procedures”) to protect the potential value of the Debtors’ consolidated net operating loss

carryforwards (“NOLs”) and other tax benefits (collectively, the “Tax Attributes”) for use

during the pendency of the chapter 11 cases and connection with the reorganization of the

Debtors. The Procedures apply to (a) common stock of PDM Group Holdings Corporation (the

“Common Stock”) and any options or similar rights (within the meaning of applicable Treasury

Regulations (as defined herein)) to acquire such stock (the “Options”) and (b) any claim (for

income tax reporting purposes) of a worthless stock deduction under section 165(g) of Title 26 of

the United States Code (the “Tax Code”) with respect to Common Stock (a “Worthless Stock

Deduction”). The Debtors request that the Court enter the Proposed Orders (as defined herein)

granting the relief requested herein effective nunc pro tunc to the date hereof.

                   7.   A proposed form of order granting the relief requested herein on an

interim basis is annexed hereto as Exhibit A (the “Proposed Interim Order”). A proposed

form of order granting the relief requested herein on a final basis is annexed hereto as Exhibit B

(the “Proposed Final Order” and, together with the Proposed Interim Order, the “Proposed

Orders”).




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                                   The Debtor’s Tax Attributes

                   8.    The Debtors possess certain Tax Attributes, including estimated NOLs of

approximately $145,000,000. The Tax Attributes are valuable assets of the Debtors’ estates.

                   9.    The Tax Code generally permits a corporation to carry forward its NOLs

and disallowed business interest to reduce future taxable income, thereby reducing, along with

available tax credits, such corporation’s tax liability in future periods. See 26 U.S.C. §§ 172 and

163(j). Accordingly, absent any intervening limitations, the Tax Attributes could substantially

reduce the Debtors’ U.S. federal income tax liability for current and future periods, including

during the pendency of these chapter 11 cases and in connection with the implementation of the

Prepackaged Plan. The Tax Attributes are available to reduce the Debtors’ federal income tax

liability through the taxable year that includes the effective date of a chapter 11 plan and

potentially thereafter, depending on the consequences of the restructuring. The Tax Attributes,

therefore, could translate into future tax savings over time, and any such savings could enhance

the Debtors’ cash position for the benefit of all parties in interest and contribute to the Debtors’

efforts toward a successful reorganization.

                   10.   The Debtors’ ability to utilize the Tax Attributes to reduce future tax

liability is subject to certain potential statutory limitations. Sections 382 and 383 of the Tax

Code limit a corporation’s ability to utilize its NOLs, tax credits, and certain other tax benefits to

offset future income once that corporation has undergone an “ownership change” within the

meaning of section 382 of the Tax Code (an “Ownership Change”). Pursuant to section 382 of

the Tax Code, an Ownership Change generally occurs when the percentage of a corporation’s

equity held by one or more of its “5-percent shareholders” (each, as that term is used in section

382 of the Tax Code, a “5-Percent Shareholder”) increases by more than fifty (50) percentage




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points above the lowest percentage of the corporation’s equity owned by such shareholder(s) at

any time during the relevant testing period (usually three years). See id. § 382(g).

                   11.   Further, section 382(g)(4)(D) of the Tax Code generally provides that if

(a) a 50-percent shareholder (which, for this purpose, includes a shareholder who owned at least

fifty percent (50%) of the stock at any time during the applicable three-year period) in a

corporation claims a worthless stock deduction during any taxable year and (b) the stock with

respect to which such worthless stock deduction is taken is held by the shareholder at the end of

such taxable year, then the shareholder is treated as having acquired such stock on the first day of

the shareholder’s next taxable year and is treated as never having owned such stock during any

prior year for purposes of testing whether an Ownership Change has occurred. In the case of the

Debtors, an Ownership Change could occur as a result of the largest holder of Common Stock

claiming a Worthless Stock Deduction with respect to such stock.

                   12.   The Debtors do not believe that Checkout Holding Corp. has undergone an

Ownership Change prior to the Petition Date.         Accordingly, the Debtors believe that they

continue to have significant Tax Attributes that would be adversely affected by the occurrence of

an Ownership Change during the pendency of these chapter 11 cases. If such an Ownership

Change were to occur, the availability and value of such Tax Attributes would be adversely

impacted. Therefore, it is in the best interests of the Debtors and their stakeholders to restrict

both the trading of Common Stock and any claim of a Worthless Stock Deduction that could

result in an Ownership Change occurring before the effective date of a chapter 11 plan or any

applicable bankruptcy court order. Such a restriction would protect the Debtors’ ability to use

the Tax Attributes during the pendency of these chapter 11 cases or, potentially, in the event of a




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future transaction, to offset gain or other income recognized in connection with the Debtors’ sale

or ownership of their assets, which may be significant in amount.

                         The Proposed Procedures Relating to Common Stock

                   13.    By establishing the Procedures for monitoring the transfer of, and the

claiming of a worthless stock deduction by any Majority Stockholder with respect to, Common

Stock, the Debtors can preserve their ability to seek the necessary relief if it appears that any

such transfer(s) may jeopardize the Debtors’ ability to utilize their Tax Attributes. Therefore, the

Debtors propose the following Procedures:2

                     (a)     Definitions. For purposes of these Procedures, the following terms
have the following meanings:

                               (i)     “Beneficial ownership” of Common Stock and Options to
acquire Common Stock shall be determined in accordance with section 382 of the Tax Code, the
regulations promulgated by the U.S. Department of the Treasury under the Tax Code (the
“Treasury Regulations”), and rulings issued by the Internal Revenue Service (the “IRS”), and
shall include, without limitation, (A) direct and indirect ownership, determined without regard to
any rule that treats stock of an entity as to which the constructive ownership rules apply as no
longer owned by that entity (e.g., a holding company would be considered to beneficially own all
stock owned or acquired by its subsidiaries), (B) ownership by a holder’s family members, (C)
ownership by any group of persons acting pursuant to a formal or informal understanding among
themselves to make a coordinated acquisition of stock, and (D) to the extent set forth in Treasury
Regulations section 1.382-4, the ownership of an Option to acquire Common Stock.

                           (ii)  “Berkshire Stockholders” shall mean each of Berkshire
Fund VIII, L.P., Berkshire Fund VIII-A, L.P., Berkshire Investors III LLC, and Berkshire
Investors IV LLC.

                              (iii) “Majority Stockholder” shall mean (A) any person that
beneficially owns at least 409,736,340 shares of Common Stock (representing approximately
47.5% of all issued and outstanding shares of Common Stock) or (B) any person that would be a
“50-percent shareholder” (within the meaning of section 382(g)(4)(D) of the Tax Code) of
Common Stock if such person claimed a Worthless Stock Deduction at any time on or after the
Petition Date, which for the avoidance of doubt, shall include the Berkshire Stockholders.

                            (iv)  “Substantial Stockholder” shall mean any “entity” (as
such term is defined in Treasury Regulations section 1.382-3(a), an “Entity”) or person that

2
  The Procedures delineated herein summarize the relevant portion of Exhibit 1 to the Proposed Orders, which sets
forth the Procedures.



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beneficially owns at least 40,973,634 shares of Common Stock (representing approximately
4.75% of all issued and outstanding shares of Common Stock).

                        (b)    Notice of Substantial Ownership. Any person or Entity that
beneficially owns, at any time on or after the Petition Date, Common Stock in an amount
sufficient to qualify such person or Entity as a Substantial Stockholder shall file with this Court
and serve upon (i) the Debtors, 200 Carillon Parkway, St. Petersburg, FL 33716 (Attn: Shelly
Schaffer and David Glogoff, Esq.); (ii) proposed counsel for the Debtors, (x) Weil, Gotshal &
Manges LLP, 767 Fifth Avenue, New York, New York 10153 (Attn: Gary T. Holtzer, Esq.;
Ronit J. Berkovich, Esq.; Jessica Liou, Esq.; and Kevin Bostel, Esq.) and (y) Richards, Layton &
Finger, P.A, 920 North King Street, Wilmington, Delaware 19801 (Attn: Mark D. Collins, Esq.
and Jason Madron, Esq.); (iii) counsel to any statutory committee of unsecured creditors
appointed in these cases (a “Creditors’ Committee”); (iv) counsel to the lenders under the
Debtors’ proposed debtor in possession financing facility (the “DIP Lenders”); and (v) Paul,
Weiss, Rifkind, Wharton & Garrison LLP, 1285 Avenue of the Americas, New York, NY 10019
(Attn: Brian S. Hermann, Esq. and Robert A. Britton, Esq.), and Young Conaway Stargatt &
Taylor, LLP, Rodney Square, 1000 North King Street, Wilmington, Delaware, 19801 (Attn:
Pauline K. Morgan, Esq.), as counsel to the DIP Lenders and that ad hoc group of holders of
term loans under the Second Lien Term Loan (collectively, the “Disclosure Parties”) a notice of
such person’s or Entity’s substantial ownership (a “Substantial Stock Ownership Notice”), in
substantially the form annexed to the Proposed Orders as Exhibit 2, which describes specifically
and in detail such person’s or Entity’s ownership of Common Stock, on or before the date that is
the later of (x) twenty (20) calendar days after the entry of the order granting the requested relief
or (y) ten (10) business days after such person or Entity qualifies as a Substantial Stockholder.
At the election of the Substantial Stockholder, the Substantial Stockholder Ownership Notice to
be filed with this Court (but not the Substantial Stock Ownership Notice that is served upon the
Disclosure Parties) may be redacted to exclude the Substantial Stockholder’s taxpayer
identification number and the amount of Common Stock that the Substantial Stockholder
beneficially owns.

                        (c)    Acquisition of Common Stock. At least twenty (20) business days
prior to the proposed date of any transfer of Common Stock or exercise of any Option to acquire
Common Stock that would result in an increase in the amount of Common Stock beneficially
owned by any person or Entity that currently is or, as a result of the proposed transaction, would
be a Substantial Stockholder (a “Proposed Acquisition Transaction”), such person or Entity (a
“Proposed Transferee”) shall file with this Court and serve upon the Disclosure Parties a notice
of such Proposed Transferee’s intent to purchase, acquire, or otherwise accumulate Common
Stock (an “Acquisition Notice”), in substantially the form annexed to the Proposed Orders as
Exhibit 3, which describes specifically and in detail the Proposed Acquisition Transaction. At
the election of the Substantial Stockholder, the Acquisition Notice to be filed with this Court (but
not the Acquisition Notice that is served upon the Disclosure Parties) may be redacted to exclude
the Substantial Stockholder’s taxpayer identification number and the amount of Common Stock
that the Substantial Stockholder beneficially owns.

                       (d)     Disposition of Common Stock. At least twenty (20) business days
prior to the proposed date of any transfer or other disposition of Common Stock that would result
in either a decrease in the amount of Common Stock beneficially owned by a Substantial


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Stockholder or a person or Entity ceasing to be a Substantial Stockholder (a “Proposed
Disposition Transaction” and, together with a Proposed Acquisition Transaction, a “Proposed
Transaction”), such person, Entity, or Substantial Stockholder (a “Proposed Transferor”) shall
file with this Court and serve upon the Disclosure Parties a notice of such Proposed Transferor’s
intent to sell, trade, or otherwise transfer Common Stock (a “Disposition Notice” and, together
with an Acquisition Notice, a “Trading Notice”), in substantially the form annexed to the
Proposed Orders as Exhibit 4, which describes specifically and in detail the Proposed
Disposition Transaction. At the election of the Substantial Stockholder, the Trading Notice to be
filed with this Court (but not the Trading Notice that is served upon the Disclosure Parties) may
be redacted to exclude the Substantial Stockholder’s taxpayer identification number and the
amount of Common Stock that the Substantial Stockholder beneficially owns.

                      (e)    Notice of Status as a Majority Stockholder. Any person that
currently is or becomes a Majority Stockholder shall file with this Court and serve upon the
Disclosure Parties a notice of such status (a “Majority Stockholder Notice”), in substantially
the form annexed to the Proposed Orders as Exhibit 5, which describes specifically and in detail
such person’s ownership of Common Stock, on or before the date that is the later of (x) twenty
(20) calendar days after the entry of the order granting the requested relief or (y) ten (10)
business days after such person qualifies as a Majority Stockholder. At the election of the
Majority Stockholder, the Majority Stockholder Notice to be filed with this Court (but not the
Majority Stockholder Notice that is served upon the Disclosure Parties) may be redacted to
exclude the Majority Stockholder’s taxpayer identification number.

                       (f)    Notice of Intent to Claim a Worthless Stock Deduction. At least
twenty (20) business days before a Majority Stockholder files any federal income tax return, or
any amendment to such a return, claiming a Worthless Stock Deduction for a tax year of the
Majority Stockholder ending before the effective date of a plan of reorganization (the “Plan”),
such Majority Stockholder shall file with this Court and serve upon the Disclosure Parties
advanced written notice of the intended tax deduction (a “Worthless Stock Deduction Notice”),
in substantially the form annexed to the Proposed Orders as Exhibit 6. At the election of the
Majority Stockholder, the Worthless Stock Deduction Notice to be filed with this Court (but not
the Worthless Stock Deduction Notice that is served upon the Disclosure Parties) may be
redacted to exclude the Majority Stockholder’s taxpayer identification number.

                       (g)     Objection Procedures. The Debtors and any Creditors’ Committee
shall have fifteen (15) business days after the filing of a Trading Notice or a Worthless Stock
Deduction Notice (the “Objection Period”) to file with this Court and serve on a Proposed
Transferee or a Proposed Transferor, as the case may be, or a Majority Stockholder, as
applicable, an objection (each, an “Objection”) to any Proposed Transaction described in such
Trading Notice or any Worthless Stock Deduction described in such Worthless Stock Deduction
Notice. If the Debtors or any Creditors’ Committee files an Objection by the expiration of the
Objection Period (the “Objection Deadline”), then the applicable Proposed Transaction or
Worthless Stock Deduction shall not be effective unless approved by a final and nonappealable
order of this Court. If neither the Debtors nor any Creditors’ Committee file an Objection by the
Objection Deadline or if the Debtors and any and all Creditors’ Committees provide written
authorization to the Proposed Transferee or the Proposed Transferor, as the case may be, or the
Majority Stockholder, as applicable, approving the Proposed Transaction or the Worthless Stock


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Deduction prior to the Objection Deadline, then such Proposed Transaction or Worthless Stock
Deduction may proceed solely as specifically described in the applicable Trading Notice or
Worthless Stock Deduction Notice. Any further Proposed Transaction or Worthless Stock
Deduction must be the subject of an additional Trading Notice or Worthless Stock Deduction
Notice and Objection Period.

                          (h) Debtors’ Right to Waive. The Debtors may, in their sole discretion,
waive, in writing, any and all restrictions, stays, and notification Procedures contained in this
Notice.

                             The Relief Requested Should Be Granted

I.      The Automatic Stay Bars Any Equity Transfer that Would Diminish or Limit the
        Debtors’ Interests in the Tax Attributes

                   14.   In furtherance of the automatic stay provisions of section 362 of the

Bankruptcy Code and pursuant to section 105 of the Bankruptcy Code, the Debtors seek

authority to monitor and approve (or disapprove) certain changes in the ownership of, and certain

worthless stock deduction claims with respect to, Common Stock to protect against the

occurrence of an Ownership Change during the pendency of these chapter 11 cases, and thereby

to preserve the potential value of the Tax Attributes.

                   15.   Section 362 of the Bankruptcy Code enjoins all entities from, among other

things, taking any action to obtain possession of property of or from the estate or to exercise

control over property of the estate. Section 541 of the Bankruptcy Code defines “property of the

estate” to include all legal or equitable interests of a debtor in property as of the commencement

date of a chapter 11 case, including tax benefits.

                   16.   The Tax Attributes are valuable property of the Debtors’ estates and thus

are protected, by operation of the automatic stay, from actions that would adversely diminish

their value, including transfers that would effect an Ownership Change. It is well established

that a debtor’s NOLs are property of the debtor’s estate protected by the automatic stay. See

Official Comm. of Unsecured Creditors v. PSS S.S. Co. (In re Prudential Lines Inc.), 928 F.2d




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565, 574 (2d Cir. 1991) (“[W]here a non-debtor’s action with respect to an interest that is

intertwined with that of a bankrupt debtor would have the legal effect of diminishing or

eliminating property of the bankrupt estate, such action is barred by the automatic stay.”);

Nisselson v. Drew Indus., Inc. (In re White Metal Rolling & Stamping Corp.), 222 B.R. 417, 424

(Bankr. S.D.N.Y. 1998) (“It is beyond peradventure that NOL carrybacks and carryovers are

property of the estate of the loss corporation that generated them.”); In re Grossman’s Inc., No.

97-695 (PJW), 1997 WL 33446314 (Bankr. D. Del. Oct. 9, 1997). The United States Court of

Appeals for the Second Circuit, in its seminal decision, In re Prudential Lines Inc., affirmed the

application of the automatic stay to a debtor’s tax benefits and upheld a permanent injunction

prohibiting a parent corporation from taking a worthless stock deduction that would have

adversely affected the ability of the parent corporation’s subsidiary to utilize its NOLs under the

special relief provisions of section 382 of the Tax Code. See 928 F.2d at 573. As the Second

Circuit stated:

                   Including NOL carryforwards as property of a corporate debtor’s
                   estate is consistent with Congress’ intention to “bring anything of
                   value that the debtors have into the estate.” Moreover, . . .
                   [i]ncluding the right to a NOL carryforward as property of [a
                   debtor’s] bankruptcy estate furthers the purpose of facilitating the
                   reorganization of [the debtor].

Id. (quoting H.R. Rep. No. 95-595, at 176 (1978)) (citations omitted); see also In re Fruehauf

Trailer Corp., 444 F.3d 203, 211 (3d Cir. 2006) (“Property of the estate ‘includes all interests,

such as . . . contingent interests and future interests, whether or not transferable by the debtor.’”

(quoting Prudential Lines, 928 F.2d at 572) (alteration in original)); Gibson v. United States (In

re Russell), 927 F.2d 413, 417 (8th Cir. 1991) (concluding that the “right to carry forward the

[debtor’s] NOLs” was a “property interest” of the estate).




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                   17.    In Prudential Lines, the Second Circuit determined that if the parent

corporation were permitted to take a worthless stock deduction, its subsidiary’s ability to carry

forward its NOLs would be adversely impacted. The Second Circuit concluded that “despite the

fact that the [parent corporation’s] action [was] not directed specifically at [the debtor

subsidiary], it [nonetheless was] barred by the automatic stay as an attempt to exercise control

over property of the estate.” Prudential Lines, 928 F.2d at 573–574.

                   18.    In addition to finding that a debtor’s NOLs are protected by the automatic

stay, the Second Circuit also held that, pursuant to its equitable powers under section 105(a) of

the Bankruptcy Code, a bankruptcy court may issue a permanent injunction to protect such

NOLs. Id. at 574.

                   19.    In In re Phar-Mor, Inc., 152 B.R. 924 (Bankr. N.D. Ohio 1993), the

bankruptcy court applied similar reasoning and granted the debtors’ motion to prohibit transfers

of their stock that could have had an adverse effect on their ability to utilize their NOLs, even

though the debtors’ stockholders had not stated any intent to sell their stock and the debtors had

not shown that a sale that would trigger an Ownership Change was pending. See id. at 927.

Despite the “ethereal” nature of the situation, the court observed that “[w]hat is certain is that the

NOL has a potential value, as yet undetermined, which will be of benefit to creditors and will

assist debtors in their reorganization process. This asset is entitled to protection while [the

d]ebtors move forward toward reorganization.” Id. (emphasis added).

                   20.    The bankruptcy court in Phar-Mor also concluded that, because the

debtors were seeking to enforce the automatic stay, they did not have to meet the more stringent

requirements for preliminary injunctive relief:

                   The requirements for enforcing an automatic stay under 11 U.S.C.
                   § 362(a)(3) do not involve such factors as lack of an adequate



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                   remedy at law, or irreparable injury, or loss and a likelihood of
                   success on the merits. The key elements for a stay . . . are the
                   existence of property of the estate and the enjoining of all efforts
                   by others to obtain possession or control of property of the estate.

Id. at 926 (quoting In re Golden Distribs., Inc., 122 B.R. 15, 19 (Bankr. S.D.N.Y. 1990)).

                   21.    Restrictions on equity trading and/or worthless stock deduction claims to

protect a debtor against the possible loss of valuable tax attributes are regularly approved by this

and other courts. See, e.g., In re Metrocall, Inc., No. 02-11579 (D.I. 290) (Bankr. D. Del. July 8,

2002) (approving procedures by which the debtor would provide five business days’ notice to

object to proposed transfers of stock that would result in a transferee’s holding 5 percent or more

of the debtor’s stock or a reduction in the ownership interest of an existing 5-percent

shareholder); In re Reliance Acceptance Grp. Inc., No. 98-288 (PJW) (D.I. 270) (Bankr. D. Del.

Apr. 28, 1998) (providing debtor with thirty-days’ notice to object to proposed transfers that

would result in a transferee holding five percent or more of debtor’s common stock); In re

Aéropostale, Inc., No. 16-11275 (SHL) (D.I. 240) (Bankr. S.D.N.Y. June 3, 2016) (approving

notification procedures and restrictions on certain transfers of equity interests in the debtors); In

re SunEdison, Inc., No. 16-1992 (SMB) (D.I. 253) (Bankr. S.D.N.Y. May 12, 2016) (same); In

re The Great Atl. & Pac. Tea Co., No. 15-23007 (RDD) (D.I. 501) (Bankr. S.D.N.Y. Aug. 11,

2015) (approving notification procedures and restrictions on certain transfers of equity interests

in and Claims against the debtors); In re AMR Corp., No. 11-15463 (SHL) (D.I. 890) (Bankr.

S.D.N.Y. Jan. 27, 2012) (same); In re NewPage Corp., No. 11-12804 (KG) (D.I. 307) (Bankr. D.

Del. October 4, 2011) (approving notification procedures and restrictions on certain transfers of

Claims against and equity interests in the debtors and certain worthless stock deduction claims

with respect to equity interests in the debtors); In re Portola Packaging, Inc., No. 08-12001

(CSS) (D.I. 130) (Bankr. D. Del. Sept. 19, 2008) (approving notification procedures and



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restrictions on certain transfers of, and worthless stock deduction with respect to, equity interests

in the debtors); In re Delta Air Lines, Inc., No. 05-17923 (PCB) [ECF No. 1640] (Bankr.

S.D.N.Y. Dec. 20, 2005) (approving notification procedures and restrictions on certain transfers

of equity interests in the debtors); In re Nw. Airlines Corp., No. 05-17930 (ALG) (D.I. 836)

(Bankr. S.D.N.Y. Oct. 28, 2005) (same).

                   22.   As the foregoing demonstrates, it is well settled that, pursuant to section

362(a)(3) of the Bankruptcy Code, the automatic stay enjoins actions that would adversely affect

a debtor’s ability to utilize its NOLs and other tax benefits.

II.     The Procedures Are Necessary and in the Best Interests of the Debtors, Their
        Estates, and Their Creditors

                   23.   The Procedures are necessary to preserve the Debtors’ ability to utilize

their Tax Attributes. The Debtors’ ability to preserve their Tax Attributes may be jeopardized

unless certain procedures are established immediately and nunc pro tunc to the Petition Date to

ensure that trading in Common Stock, and claiming certain worthless stock deductions with

respect to equity interests in the Debtors, are either precluded or closely monitored and made

subject to Court approval.

                   24.   Depending on the Debtors’ tax profile during the pendency of these

chapter 11 cases, future earnings, and the consequences of a restructuring, the Debtors’ ability to

utilize the Tax Attributes may enhance the Debtors’ prospects for a successful emergence from

chapter 11. The relief requested herein is narrowly tailored to permit certain stock trading to

continue, subject to Bankruptcy Rule 3001(e) and applicable securities, corporate, and other

laws.

                   25.   The Debtors respectfully submit that the Procedures must be implemented

as soon as possible. Even if a transfer or Worthless Stock Deduction claim were to be null and



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void under section 362 of the Bankruptcy Code or as a result of a final order of the Court that

prohibited such a transfer retroactively to the Petition Date, under federal income tax law, such

transfer nevertheless may be regarded as having occurred for tax purposes, in which event the

Debtors’ estates could suffer an irrevocable loss of value. Accordingly, if a transfer occurs that

limits the Debtors’ ability to utilize their Tax Attributes under section 382 of the Tax Code, the

Debtors’ ability to realize the value of their Tax Attributes may be permanently diminished. The

relief requested, therefore, is crucial to prevent an irrevocable diminution of the value of the

Debtors’ estates.

                   26.   It is in the best interests of the Debtors and their stakeholders to restrict

stock trading that could result in an Ownership Change before the effective date of the

Prepackaged Plan or any applicable bankruptcy court order. This restriction would permit the

Debtors’ to utilize the Tax Attributes, if necessary, to offset gain or other income recognized in

connection with the Debtors’ ownership of their assets and operation of their business. If such

an Ownership Change were to occur, however, the valuation for determining the annual amount

of usable Tax Attributes is expected to adversely diminish.

                                        Reservation of Rights

                   27.   Nothing contained herein is intended to be or shall be construed as (i) an

admission as to the validity of any claim against the Debtors, (ii) an agreement or obligation to

pay any claims, (iii) an admission as to the validity of any liens satisfied pursuant to this Motion,

(iv) a waiver of the Debtors’ or any appropriate party in interest’s rights to dispute any claim, or

(v) an approval or assumption of any agreement, contract, program, policy, or lease under section

365 of the Bankruptcy Code. Likewise, if this Court grants the relief sought herein, any payment

made pursuant to this Court’s order is not intended to be and should not be construed as an




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admission to the validity of any claim or a waiver of the Debtors’ rights to dispute such claim

subsequently.

             Bankruptcy Rule 6003 Does Not Apply to the Relief Requested Herein

                   28.   Bankruptcy Rule 6003(b) provides that, to the extent relief is necessary to

avoid immediate and irreparable harm, a bankruptcy court may issue an order granting “a motion

to use, sell, lease, or otherwise incur an obligation regarding property of the estate, including a

motion to pay all or part of a claim that arose before the filing of the petition” before twenty-one

(21) days after filing of the petition. Fed. R. Bankr. P. 6003(b). The Debtors respectfully submit

that Bankruptcy Rule 6003 does not apply to the relief requested herein because the Debtors are

not, by this Motion, seeking to use, sell, or lease property of their estates. See Fed. Bankr. R. P.

6003 Advisory Comm.’s note to 2011 amend. (“[T]he rule does not prohibit the court from

entering orders in the first 21 days of the case that may relate to the motions and applications set

out in (a), (b), and (c) [of Bankruptcy Rule 6003]; it is only prohibited from granting the relief

requested by those motions or applications” (emphasis added)). Notwithstanding the foregoing,

even if the Court were to find that Bankruptcy Rule 6003 applied to this Motion, the relief

requested herein satisfies the “immediate and irreparable harm” standard.

                   29.   As discussed herein, the NOLs are a valuable asset of the Debtors’ estates.

In addition, once an NOL is limited under section 382 of the Tax Code, its use is limited forever.

Absent granting the relief requested herein on an interim basis, at the outset of these chapter 11

cases, the Debtors may be irreparably harmed by any equity trading that occurs prior to the

Court’s entry of an order granting this Motion on a final basis. By this Motion, the Debtors seek

to implement Procedures that would protect against such irreparable harm. Accordingly, to the




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extent that Bankruptcy Rule 6003 applies to the relief requested herein, it does not require the

Court to wait twenty-one (21) days before entering the Proposed Interim Order.

                                              Notice

                   30.   Notice of this Motion shall be provided to (i) the Office of the United

States Trustee for the District of Delaware; (ii) the holders of the five (5) largest secured claims

against the Debtors (on a consolidated basis); (iii) the holders of the thirty (30) largest unsecured

claims against the Debtors (on a consolidated basis); (iv) Jones Day, 250 Vesey Street, New

York, NY 10281 (Attn: Scott J. Greenberg, Esq. and Michael J. Cohen, Esq.) and Pachulski

Stang Ziehl & Jones LLP, 919 N. Market Street, Wilmington, DE 19801 (Attn: Laura Davis

Jones, Esq.), as counsel to the DIP lenders and the ad hoc group of lenders under the First Lien

Credit Agreement; (v) Paul, Weiss, Rifkind, Wharton & Garrison LLP, 1285 Avenue of the

Americas, New York, NY 10019 (Attn: Brian S. Hermann, Esq. and Robert A. Britton, Esq.) and

Young Conaway Stargatt & Taylor LLP, Rodney Square, 1000 North King Street, Wilmington,

Delaware, 19801 (Attn.: Pauline K. Morgan, Esq.), as counsel to an ad hoc group of certain

holders of term loans under the Second Lien Term Loan, dated as of April 9, 2014; (vi) Davis

Polk & Wardwell LLP, 450 Lexington Ave, New York, NY 10017 (Attn: Brian M. Resnick,

Esq.) and Landis Rath & Cobb LLP, 919 Market Street, Wilmington, DE 19801 (Attn: Adam

Landis, Esq. and Kerri Mumford, Esq.), as counsel to JPMorgan Chase Bank, N.A., as

administrative agent under the First Lien Credit Agreement; (vii) Wilmer Cutler Pickering Hale

and Dorr LLP, 7 World Trade Center, 250 Greenwich Street, New York, NY 10007 (Attn:

Andrew N. Goldman, Esq.), as counsel to Wilmington Savings Fund Society, FSB, as

administrative agent under the Second Lien Credit Agreement; (viii) Debevoise & Plimpton

LLP, 919 Third Avenue, New York, NY 10022 (Attn: My Chi To, Esq.), as counsel to an ad hoc

group of holders of the HoldCo PIK Toggle Notes of PDM Intermediate Holdings B


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Corporation; (ix) the Internal Revenue Service; (x) the United States Attorney’s Office for the

District of Delaware; (xi) the Banks; and (xii) any other party entitled to notice pursuant to Local

Rule 9013-1(m) (collectively, the “Notice Parties”). As this Motion is seeking “first day” relief,

the Debtors will serve copies of this Motion and any order entered in respect of the Motion as

required by Local Rule 9013-1(m).         The Debtors submit that, in view of the facts and

circumstances, such notice is sufficient and no other or further notice need be provided.

                   31.   No previous request for the relief sought herein has been made by the

Debtors to this or any other court.

                            [Remainder of Page Intentionally Left Blank]




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                   WHEREFORE the Debtors respectfully request entry of the Proposed Interim

Order and, following the Final Hearing (if one is required), the Proposed Final Order, in the

forms attached hereto as Exhibit A and Exhibit B, respectively, granting the relief requested

herein and such other and further relief as this Court may deem just and appropriate.

Dated: December 12, 2018
       Wilmington, Delaware

                                                   /s/ Jason M. Madron
                                            Mark D. Collins (No. 2981)
                                            Jason M. Madron (No. 4431)
                                            RICHARDS, LAYTON & FINGER, P.A.
                                            One Rodney Square
                                            920 North King Street
                                            Wilmington, Delaware 19801
                                            Telephone: (302) 651-7700
                                            Facsimile: (302) 651-7701

                                            -and-

                                            Gary T. Holtzer (pro hac vice admission pending)
                                            Ronit J. Berkovich (pro hac vice admission pending)
                                            Jessica Liou (pro hac vice admission pending)
                                            Kevin Bostel (pro hac vice admission pending)
                                            WEIL, GOTSHAL & MANGES LLP
                                            767 Fifth Avenue
                                            New York, New York 10153
                                            Telephone: (212) 310-8000
                                            Facsimile: (212) 310-8007

                                            Proposed Attorneys for Debtors
                                            and Debtors in Possession




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                                         Exhibit A

                                  Proposed Interim Order




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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

------------------------------------------------------------ X
                                                             :
In re                                                        :      Chapter 11
                                                             :
CHECKOUT HOLDING CORP., et al.,                              :      Case No. 18-[_____] (___)
                                                             :
                  Debtors.1                                  :      Joint Administration Requested
                                                             :
------------------------------------------------------------ X

                  INTERIM ORDER ESTABLISHING NOTIFICATION
                   PROCEDURES AND APPROVING RESTRICTIONS
         ON (A) CERTAIN TRANSFERS OF INTERESTS IN THE DEBTORS AND
            (B) CLAIMS OF CERTAIN WORTHLESS STOCK DEDUCTIONS

                   Upon the motion (the “Motion”)2 of Checkout Holding Corp. and its affiliated

debtors in the above-captioned chapter 11 cases, as debtors and debtors in possession

(collectively, the “Debtors”), pursuant to sections 105(a) and 362 of title 11 of the United States

Code (the “Bankruptcy Code”), for entry of interim and final orders authorizing the Debtors to

establish procedures to protect the potential value of the Debtors’ consolidated net operating loss

carryforwards (the “NOLs”) and other tax benefits (collectively, the “Tax Attributes”) for use

in connection with the reorganization of the Debtors, all as more fully set forth in the Motion;

and this Court having jurisdiction to decide the Motion and the relief requested therein in

accordance with 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from

the United States District Court for the District of Delaware, dated February 29, 2012; and

1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Catalina Marketing Corporation (9007); Catalina Marketing Procurement, LLC (9333); Catalina
Marketing Technology Solutions, Inc. (8728); Catalina Marketing Worldwide, LLC (9687); Cellfire Inc. (5599);
Checkout Holding Corp. (4651); Modiv Media, Inc. (3507); PDM Group Holdings Corporation (9148); PDM
Holdings Corporation (5025); PDM Intermediate Holdings A Corporation (6409); and PDM Intermediate Holdings
B Corporation (3278). The Debtors’ principal offices are located at 200 Carillon Parkway, St. Petersburg, FL
33716.
2
  Capitalized terms used, but not otherwise defined, herein shall have the same meanings ascribed to such terms in
the Motion.



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consideration of the Motion and the relief requested therein being a core proceeding pursuant to

28 U.S.C. § 157(b); and venue being proper before this Court pursuant to 28 U.S.C. §§ 1408 and

1409; and due and proper notice of the Motion having been given as provided in the Motion, and

such notice having been adequate and appropriate under the circumstances; and it appearing that

no other or further notice need be provided; and this Court having reviewed the Motion; and a

hearing having been held to consider the relief requested in the Motion (the “Hearing”); and

upon the Del Genio Declaration, filed contemporaneously with the Motion, the record of the

Hearing, and all of the proceedings had before this Court; and this Court having found and

determined that the relief sought in the Motion is in the best interests of the Debtors, their

estates, creditors, and all parties in interest, and that the legal and factual bases set forth in the

Motion establish just cause for the relief granted herein; and after due deliberation and sufficient

cause appearing therefor,

                   IT IS HEREBY ORDERED THAT:

                   1.   The Motion is granted on an interim basis as set forth herein.

                   2.   The provisions of this Interim Order shall be effective nunc pro tunc to the

Petition Date.

                   3.   The restrictions, notification requirements, and other procedures annexed

hereto as Exhibit 1 (the “Procedures”) are hereby approved and shall apply to all trading and

transfers of, and worthless stock deduction claims with respect to, interests in the Debtors;

provided, that, the Debtors may, in their sole discretion, waive in writing, any and all restrictions,

stays, and notification procedures set forth in the Procedures.

                   4.   Until further order of this Court to the contrary, any acquisition,

disposition, or trading of, or worthless stock deduction claim with respect to, Common Stock in



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violation of the Procedures shall be null and void ab initio as an act in violation of the automatic

stay under section 362 of the Bankruptcy Code and pursuant to this Court’s equitable powers

under section 105(a) of the Bankruptcy Code.

                   5.   Any person or Entity that acquires, disposes of, or trades Common Stock

in violation of this Interim Order or the Procedures or that otherwise fails to comply with their

requirements, including with respect to claiming a worthless stock deduction, shall be subject to

such sanctions as this Court may consider appropriate pursuant to this Court’s equitable power

under section 105(a) of the Bankruptcy Code.

                   6.   The notices substantially in the forms annexed hereto as Exhibit 2,

Exhibit 3, Exhibit 4, Exhibit 5 and Exhibit 6 are hereby approved.

                   7.   Within three (3) business days of the entry of this Interim Order, the

Debtors shall send the notice of this Interim Order (the “Notice of Interim Order”) annexed

hereto as Exhibit 7 to all parties that were served with notice of the Motion, publish the Notice

of Interim Order once in the national edition of The New York Times, and post the Procedures to

the website established by Prime Clerk LLC for these Chapter 11 cases (which website address

shall be identified in the Notice of Interim Order), such notice being reasonably calculated to

provide notice to all parties that may be affected by the Procedures, whether known or unknown,

and no further notice of the Procedures shall be necessary.

                   8.   Nothing herein shall preclude any person or Entity desirous of acquiring

or transferring, or making worthless stock deduction claims with respect to, any interest in the

Debtors from requesting relief from this Interim Order from this Court, subject to the Debtors’

rights to oppose such relief.

                   9.   Notice of the Motion as provided therein shall be deemed good and



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sufficient notice of the Motion.

                   10.   The relief granted in this Interim Order is intended solely to permit the

Debtors to protect, preserve, and maximize the value of their Tax Attributes; accordingly, other

than to the extent that this Interim Order expressly conditions or restricts trading in, or making

worthless stock deduction claims with respect to, interests in the Debtors, nothing in this Interim

Order or in the Motion shall, or shall be deemed to, prejudice, impair, or otherwise alter or affect

the rights of any holders of interests in the Debtors, including in connection with the treatment of

any such interests under the Prepackaged Plan or any applicable bankruptcy court order.

                   11.   Notwithstanding entry of this Interim Order, nothing herein shall create,

nor is intended to create, any rights in favor of or enhance the status of any claim held by, any

party.

                   12.   The requirements set forth in this Interim Order are in addition to the

requirements of Bankruptcy Rule 3001(e) and applicable securities, corporate and other laws and

do not excuse noncompliance therewith.

                   13.   Notwithstanding Bankruptcy Rule 6004(h), this Interim Order shall be

immediately effective and enforceable upon its entry.

                   14.   The Final Hearing on the Motion shall be held on [____________], 2018,

at [_____] (Prevailing Eastern Time) and any objections or responses to the Motion shall be in

writing, filed with this Court, and served upon (i) the proposed attorneys for the Debtors, (a)

Weil, Gotshal & Manges LLP, 767 Fifth Avenue, New York, New York 10153 (Attn: Gary T.

Holtzer, Esq.; Ronit J. Berkovich, Esq.; Jessica Liou, Esq.; and Kevin Bostel, Esq.) and (b)

Richards, Layton & Finger, P.A, 920 North King Street, Wilmington, Delaware 19801 (Attn:

Mark D. Collins, Esq. and Jason Madron, Esq.); and (ii) the Notice Parties, in each case so as to



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be received no later than 4:00 p.m. (Prevailing Eastern Time) on [________], 2018. This

Interim Order is effective only from the date of entry through this Court’s disposition of the

Motion on a final basis; provided that the Court’s ultimate disposition of the Motion on a final

basis shall not impair or otherwise affect any action taken pursuant to this Interim Order.

                   15.   The Debtors are authorized to take all action necessary to effectuate the

relief granted in this Interim Order.

                   16.   The Court shall retain jurisdiction to hear and determine all matters arising

from or related to the implementation, interpretation, and/or enforcement of this Interim Order.


Dated: ______________, 2018
       Wilmington, Delaware
                                                ____________________________________
                                                UNITED STATES BANKRUPTCY JUDGE




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                                 Exhibit 1 to Interim Order

                                        Procedures




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                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF DELAWARE

------------------------------------------------------------ X
                                                             :
In re                                                        :      Chapter 11
                                                             :
CHECKOUT HOLDING CORP., et al.,                              :      Case No. 18-[_____] (___)
                                                             :
                  Debtors.1                                  :      Joint Administration Requested
                                                             :
------------------------------------------------------------ X

                       NOTICES, RESTRICTIONS, AND
               OTHER PROCEDURES REGARDING OWNERSHIP
    AND TRANSFERS OF INTERESTS IN THE DEBTORS AND CLAIMING CERTAIN
                     WORTHLESS STOCK DEDUCTIONS

TO ALL PERSONS OR ENTITIES WITH EQUITY INTERESTS IN THE DEBTORS:

        Pursuant to that certain Interim Order Establishing Notification Procedures and

Approving Restrictions on (A) Certain Transfers of Interests in the Debtors and (b) Claims of

Certain Worthless Stock Deductions (the “Interim Order”) entered by the United States

Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”) on ____________,

2018, Docket No. ____, the following restrictions, notification requirements, and/or other

procedures (collectively, the “Procedures”) apply to all trading and transfers of interests in the

Debtors and all claims of worthless stock deductions with respect to interests in the Debtors.2




1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Catalina Marketing Corporation (9007); Catalina Marketing Procurement, LLC (9333); Catalina
Marketing Technology Solutions, Inc. (8728); Catalina Marketing Worldwide, LLC (9687); Cellfire Inc. (5599);
Checkout Holding Corp. (4651); Modiv Media, Inc. (3507); PDM Group Holdings Corporation (9148); PDM
Holdings Corporation (5025); PDM Intermediate Holdings A Corporation (6409); and PDM Intermediate Holdings
B Corporation (3278). The Debtors’ principal offices are located at 200 Carillon Parkway, St. Petersburg, FL
33716.
2
  Capitalized terms used, but not otherwise defined, herein shall have the same meanings ascribed to such terms in
the Interim Order.



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A.      Common Stock Restrictions

(1)     Definitions. For purposes of these Procedures, the following terms have the following
        meanings:

      (a)    “Common Stock” shall mean any common stock issued by PDM Group Holdings
Corporation.

       (b)      “Option” shall mean any contingent purchase, warrant, convertible debt, put,
stock subject to risk of forfeiture, contract to acquire stock, or similar interest regardless of
whether it is contingent or otherwise not currently exercisable.

        (c)     “Beneficial ownership” of Common Stock and Options to acquire Common
Stock shall be determined in accordance with section 382 of the title 26 of the United States
Code (the “Tax Code”), the regulations promulgated by the U.S. Department of Treasury under
the Tax Code (the “Treasury Regulations”), and rulings issued by the Internal Revenue Service
(the “IRS”), and, thus, to the extent provided in those sources, from time to time shall include,
without limitation, (i) direct and indirect ownership, determined without regard to any rule that
treats stock of an entity as to which the constructive ownership rules apply as no longer owned
by that entity (e.g., a holding company would be considered to beneficially own all stock owned
or acquired by its subsidiaries), (ii) ownership by a holder’s family members, (iii) ownership by
any group of persons acting pursuant to a formal or informal understanding among themselves to
make a coordinated acquisition of stock, and (iv) to the extent set forth in Treasury Regulations
section 1.382-4, the ownership of an Option to acquire Common Stock.

       (d)    “Berkshire Stockholders” shall mean each of Berkshire Fund VIII, L.P.,
Berkshire Fund VIII-A, L.P., Berkshire Investors III LLC, and Berkshire Investors IV LLC.

       (e)     “Majority Stockholder” shall mean (i) any person that beneficially owns at least
409,736,340 shares of Common Stock (representing approximately 47.5% of all issued and
outstanding shares of Common Stock) or (ii) any person that would be a “50-percent
shareholder” (within the meaning of section 382(g)(4)(D) of the Tax Code) of Common Stock if
such person claimed a Worthless Stock Deduction at any time on or after the Petition Date,
which for the avoidance of doubt shall include the Berkshire Stockholders.

       (f)    “Substantial Stockholder” shall mean any “entity” (as such term is defined in
Treasury Regulations section 1.382-3(a), an “Entity”) or person that beneficially owns at least
40,973,634 shares of Common Stock (representing approximately 4.75% of all issued and
outstanding shares of Common Stock).

(2)     Notice of Substantial Ownership. Any person or Entity that beneficially owns, at any
        time on or after the Commencement Date, Common Stock in an amount sufficient to
        qualify such person or Entity as a Substantial Stockholder shall file with the Bankruptcy
        Court, and serve upon (a) the Debtors, 200 Carillon Parkway, St. Petersburg, FL 33716
        (Attn: Shelly Schaffer and David Glogoff, Esq.); (ii) proposed counsel for the Debtors;
        (b) proposed counsel to the debtors, (i) Weil, Gotshal & Manges LLP, 767 Fifth Avenue,
        New York, New York 10153 (Attn: Gary T. Holtzer, Esq.; Ronit J. Berkovich, Esq.;
        Jessica Liou, Esq.; and Kevin Bostel, Esq.) and (ii) Richards, Layton & Finger, P.A, 920

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        North King Street, Wilmington, Delaware 19801 (Attn: Mark D. Collins, Esq. and Jason
        Madron, Esq.); (c) counsel to any statutory committee of unsecured creditors appointed in
        these cases (a “Creditors’ Committee”); and (d) counsel to the lenders under the
        Debtors’ proposed debtor in possession financing facility (the “DIP Lenders”) and
        (v) Paul, Weiss, Rifkind, Wharton & Garrison LLP, 1285 Avenue of the Americas, New
        York, NY 10019 (Attn: Brian S. Hermann, Esq. and Robert A. Britton, Esq.), and Young
        Conaway Stargatt & Taylor, LLP, Rodney Square, 1000 North King Street, Wilmington,
        Delaware, 19801 (Attn: Pauline K. Morgan, Esq.), as counsel to the DIP Lenders and that
        ad hoc group of holders of term loans under the Second Lien Term Loan (collectively, the
        “Disclosure Parties”) a notice of such person’s or Entity’s substantial ownership (a
        “Substantial Stock Ownership Notice”), in substantially the form annexed to the
        Interim Order as Exhibit 2, which describes specifically and in detail such person’s or
        Entity’s ownership of Common Stock, on or before the date that is the later of (x) twenty
        (20) calendar days after the entry of the order granting the requested relief or (y) ten (10)
        business days after such person or Entity qualifies as a Substantial Stockholder. At the
        election of the Substantial Stockholder, the Substantial Stock Ownership Notice to be
        filed with the Bankruptcy Court (but not the Substantial Stock Ownership Notice that is
        served upon the Disclosure Parties) may be redacted to exclude the Substantial
        Stockholder taxpayer identification number and the amount of Common Stock that the
        Substantial Stockholder beneficially owns.

(3)     Acquisition of Common Stock. At least twenty (20) business days prior to the proposed
        date of any transfer of Common Stock or exercise of any Option to acquire Common
        Stock that would result in an increase in the amount of Common Stock beneficially
        owned by any person or Entity that currently is or, as a result of the proposed transaction,
        would be a Substantial Stockholder (a “Proposed Acquisition Transaction”), such
        person or Entity (a “Proposed Transferee”) shall file with the Bankruptcy Court and
        serve upon the Disclosure Parties a notice of such Proposed Transferee’s intent to
        purchase, acquire, or otherwise accumulate Common Stock (an “Acquisition Notice”), in
        substantially the form annexed to the Interim Order as Exhibit 3, which describes
        specifically and in detail the Proposed Acquisition Transaction. At the election of the
        Substantial Stockholder, the Acquisition Notice to be filed with the Bankruptcy Court
        (but not the Acquisition Notice that is served upon the Disclosure Parties) may be
        redacted to exclude the Substantial Stockholder’s taxpayer identification number and the
        amount of Common Stock that the Substantial Stockholder beneficially owns.

(4)     Disposition of Common Stock. At least twenty (20) business days prior to the proposed
        date of any transfer or other disposition of Common Stock that would result in either a
        decrease in the amount of Common Stock beneficially owned by a Substantial
        Stockholder or a person’s or Entity’s ceasing to be a Substantial Stockholder (a
        “Proposed Disposition Transaction” and, together with a Proposed Acquisition
        Transaction, a “Proposed Transaction”), such person, Entity, or Substantial Stockholder
        (a “Proposed Transferor”) shall file with the Bankruptcy Court and serve upon the
        Disclosure Parties a notice of such Proposed Transferor’s intent to sell, trade, or
        otherwise transfer Common Stock (a “Disposition Notice” and, together with an
        Acquisition Notice, a “Trading Notice”), in substantially the form annexed to the Interim
        Order as Exhibit 4, which describes specifically and in detail the Proposed Disposition

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        Transaction. At the election of the Substantial Stockholder, the Disposition Notice to be
        filed with the Bankruptcy Court (but not the Disposition Notice that is served upon the
        Disclosure Parties) may be redacted to exclude the Substantial Stockholder’s taxpayer
        identification number and the amount of Common Stock that the Substantial Stockholder
        beneficially owns.

(5)     Notice of Status as a Majority Stockholder. Any person that currently is or becomes a
        Majority Stockholder shall file with the Bankruptcy Court and serve upon the Disclosure
        Parties a notice of such status (a “Majority Stockholder Notice”), in substantially the
        form annexed to the Interim Order as Exhibit 5, which describes specifically and in
        detail such person’s ownership of Common Stock, on or before the date that is the later of
        (x) twenty (20) calendar days after the entry of the order granting the requested relief or
        (y) ten (10) business days after such person qualifies as a Majority Stockholder. At the
        election of the Majority Stockholder, the Majority Stockholder Notice to be filed with the
        Bankruptcy Court (but not the Majority Stockholder Notice that is served upon the
        Disclosure Parties) may be redacted to exclude the Majority Stockholder’s taxpayer
        identification number.

(6)     Notice of Intent to Claim a Worthless Stock Deduction. At least twenty (20) business
        days before a Majority Stockholder files any federal income tax return, or any
        amendment to such a return, claiming a Worthless Stock Deduction for a tax year of the
        Majority Stockholder ending before the effective date of the Plan, such Majority
        Stockholder shall file with the Bankruptcy Court and serve upon the Disclosure Parties
        advanced written notice of the intended tax deduction (a “Worthless Stock Deduction
        Notice”), in substantially the form annexed to the Interim Order as Exhibit 6. At the
        election of the Majority Stockholder, the Worthless Stock Deduction Notice to be filed
        with the Bankruptcy Court (but not the Worthless Stock Deduction Notice that is served
        upon the Disclosure Parties) may be redacted to exclude the Majority Stockholder’s
        taxpayer identification number.

(7)     Objection Procedures. The Debtors and any Creditors’ Committee shall have fifteen (15)
        business days after the filing of a Trading Notice or a Worthless Stock Deduction Notice
        (the “Objection Period”) to file with the Bankruptcy Court and serve on a Proposed
        Transferee or a Proposed Transferor, as the case may be, or a Majority Stockholder, as
        applicable, an objection (each, an “Objection”) to any Proposed Transaction described in
        such Trading Notice or any Worthless Stock Deduction described in such Worthless
        Stock Deduction Notice. If the Debtors or any Creditors’ Committee files an Objection
        by the expiration of the Objection Period (the “Objection Deadline”), then the applicable
        Proposed Transaction or Worthless Stock Deduction shall not be effective unless
        approved by a final and nonappealable order of the Bankruptcy Court. If neither the
        Debtors nor any Creditors’ Committee file an Objection by the Objection Deadline or if
        the Debtors and any and all Creditors’ Committees provide written authorization to the
        Proposed Transferee or the Proposed Transferor, as the case may be, or the Majority
        Stockholder, as applicable, approving the Proposed Transaction or the Worthless Stock
        Deduction prior to the Objection Deadline, then such Proposed Transaction or Worthless
        Stock Deduction may proceed solely as specifically described in the applicable Trading
        Notice or Worthless Stock Deduction Notice. Any further Proposed Transaction or

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         Worthless Stock Deduction must be the subject of an additional Trading Notice or
         Worthless Stock Deduction Notice and Objection Period.

B.       Noncompliance with the Procedures

Any acquisition, disposition, or trading of, or claim of worthless stock deduction with respect to
Common Stock in violation of these Procedures shall be null and void ab initio as an act in
violation of the automatic stay under section 362 of the Bankruptcy Code and pursuant to the
Bankruptcy Court’s equitable powers under section 105(a) of the Bankruptcy Code. In the event
that a Majority Stockholder claims a Worthless Stock Deduction in violation of these Procedures,
such holder shall be required to file an amended federal income tax return revoking such
deduction. Furthermore, any person or Entity that acquires, disposes of, or trades, or claims a
worthless stock deduction with respect to, Common Stock in violation of these Procedures shall
be subject to sanctions as provided by law.

C.       Debtors’ Right to Waive

The Debtors may, in their sole discretion, waive, in writing, any and all restrictions, stays,
and notification Procedures contained in this Notice.


Dated:       Wilmington, Delaware                   BY ORDER OF THE COURT
             [________], 201__




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                                 Exhibit 2 to Interim Order

                            Notice of Substantial Stock Ownership




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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

------------------------------------------------------------ X
                                                             :
In re                                                        :      Chapter 11
                                                             :
CHECKOUT HOLDING CORP., et al.,                              :      Case No. 18-[_____] (___)
                                                             :
                  Debtors.1                                  :      Joint Administration Requested
                                                             :
------------------------------------------------------------ X

                          NOTICE OF SUBSTANTIAL STOCK OWNERSHIP

PLEASE TAKE NOTICE that, pursuant to that certain Interim Order Establishing Notification
Procedures and Approving (A) Restrictions on Certain Transfers of Interests in the Debtors and
(A) Claims of Certain Worthless Stock Deductions of the United States Bankruptcy Court for the
District of Delaware, dated [________], 2018, Docket No. [__] (with all exhibits thereto, the
“Interim Order”), [Name of Filer] (the “Filer”) hereby provides notice that, as of the date
hereof, the Filer beneficially owns:
                   (i)    __________ shares of Common Stock,2

                   (ii)   Options to acquire __________ shares of Common Stock,

PLEASE TAKE FURTHER NOTICE that the taxpayer identification number of the Filer is
______________.
PLEASE TAKE FURTHER NOTICE that the following table sets forth the following
information:
For Common Stock and/or Options to acquire Common Stock that are owned directly by the
Filer, the table sets forth (a) the number of such shares and/or the number of shares underlying
Options beneficially owned by such Filer and (b) the date(s) on which such shares and/or
Options were acquired (categorized by class, as applicable).
In the case of Common Stock and/or Options to acquire Common Stock that are not owned
directly by the Filer but are nonetheless beneficially owned by the Filer, the table sets forth (a)
the name(s) of each record or legal owner of such shares of Common Stock and/or Options to

1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Catalina Marketing Corporation (9007); Catalina Marketing Procurement, LLC (9333); Catalina
Marketing Technology Solutions, Inc. (8728); Catalina Marketing Worldwide, LLC (9687); Cellfire Inc. (5599);
Checkout Holding Corp. (4651); Modiv Media, Inc. (3507); PDM Group Holdings Corporation (9148); PDM
Holdings Corporation (5025); PDM Intermediate Holdings A Corporation (6409); and PDM Intermediate Holdings
B Corporation (3278). The Debtors’ principal offices are located at 200 Carillon Parkway, St. Petersburg, FL
33716.
2
  Capitalized terms used, but not defined, herein shall have the meanings ascribed to them in Exhibit 1 to the
Interim Order.



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acquire shares of Common Stock that are beneficially owned by the Filer, (b) the number of
shares of Common Stock and/or the number of shares of Common Stock underlying Options
beneficially owned by such Filer, and (c) the date(s) on which such Common Stock and/or
Options were acquired (categorized by class, as applicable).
        Class              Name of          Shares Owned        Shares Underlying    Date(s)
                           Owner                                 Options Owned      Acquired
  Common Stock
                             (Attach additional pages if necessary.)
 [[IF APPLICABLE:] The Filer is represented by [name of law firm], [address], [phone], (Attn:
[name of attorney]).]
                                            Respectfully submitted,


                                            [Name of Filer]

                                            By:
                                            Name:

                                            Address:


                                            Telephone:
                                            Facsimile:
                                            Date: _________________________




                                               2
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                                 Exhibit 3 to Interim Order

       Notice of Intent to Purchase, Acquire, or Otherwise Accumulate Common Stock




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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

------------------------------------------------------------ X
                                                             :
In re                                                        :      Chapter 11
                                                             :
CHECKOUT HOLDING CORP., et al.,                              :      Case No. 18-[_____] (___)
                                                             :
                  Debtors.1                                  :      Joint Administration Requested
                                                             :
------------------------------------------------------------ X

                       NOTICE OF INTENT TO PURCHASE,
             ACQUIRE, OR OTHERWISE ACCUMULATE COMMON STOCK

PLEASE TAKE NOTICE that, pursuant to that certain Interim Order Establishing Notification
Procedures and Approving (A) Restrictions on Certain Transfers of Interests in the Debtors and
(B) Claims of Certain Worthless Stock Deductions of the United States Bankruptcy Court for the
District of Delaware, dated [________], 2018, Docket No. [__] (with all exhibits thereto, the
“Interim Order”), [Name of Filer] (the “Filer”) hereby provides notice of (i) its intention to
purchase, acquire, or otherwise accumulate directly one or more shares of Common Stock2
and/or Options to acquire Common Stock and/or (ii) a proposed purchase or acquisition of
Common Stock and/or Options to acquire Common Stock that would result in an increase in the
number of shares of Common Stock and/or number of shares of Common Stock underlying
Options that are beneficially owned by the Filer (any proposed transaction described in clauses
(i) or (ii), a “Proposed Transfer”).
PLEASE TAKE FURTHER NOTICE that the following table sets forth the following
information:
1. If the Proposed Transfer involves the purchase or acquisition directly by the Filer of Common
Stock and/or Options to acquire Common Stock, the table sets forth (a) the number of shares of
Common Stock and/or the number of shares of Common Stock underlying Options proposed to
be purchased or acquired and (b) the date(s) of such Proposed Transfer (categorized by class, as
applicable).
2. If the Proposed Transfer involves the purchase or acquisition of Common Stock and/or
Options to acquire Common Stock by a person or Entity other than the Filer, but the Proposed

1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Catalina Marketing Corporation (9007); Catalina Marketing Procurement, LLC (9333); Catalina
Marketing Technology Solutions, Inc. (8728); Catalina Marketing Worldwide, LLC (9687); Cellfire Inc. (5599);
Checkout Holding Corp. (4651); Modiv Media, Inc. (3507); PDM Group Holdings Corporation (9148); PDM
Holdings Corporation (5025); PDM Intermediate Holdings A Corporation (6409); and PDM Intermediate Holdings
B Corporation (3278). The Debtors’ principal offices are located at 200 Carillon Parkway, St. Petersburg, FL
33716.
2
  Capitalized terms used, but not defined herein, shall have the meanings ascribed to them in Exhibit 1 to the
Interim Order.




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Transfer nonetheless would increase the number of shares of Common Stock and/or number of
shares of Common Stock underlying Options that are beneficially owned by the Filer, the table
sets forth (a) the name(s) of each such person or Entity that proposes to purchase or acquire such
shares of Common Stock and/or Options, (b) the number of shares of Common Stock and/or
number of shares of Common Stock underlying Options proposed to be purchased or acquired,
and (c) the date(s) of such Proposed Transfer (categorized by class, as applicable).
       Class              Name of         Shares to be         Shares Underlying          Date(s) of
                         Purchaser        Purchased or       Options to be Purchased      Proposed
                        or Acquirer         Acquired               or Acquired            Transfer
 Common Stock
                                 (Attach additional page if necessary.)
PLEASE TAKE FURTHER NOTICE that the following table summarizes the Filer’s beneficial
ownership of Common Stock and/or Options to acquire Common Stock assuming that the
Proposed Transfer is approved and consummated as described above. The table sets forth, as of
immediately following the consummation of the Proposed Transfer, the number of shares of
Common Stock and/or the number of shares of Common Stock underlying Options (a) that
would be owned directly by the Filer and, (b) in the case of any beneficial ownership by the Filer
of Common Stock and/or Options that would be owned by another person or Entity as record or
legal owner, the name(s) of each prospective record or legal owner and the number of shares of
Common Stock and/or the number of shares of Common Stock underlying Options that would be
owned by each such record or legal owner (categorized by class, as applicable):
        Class                    Name of            Shares to Be Owned         Shares Underlying
                                 Owner                                        Options to Be Owned
  Common Stock
                                 (Attach additional page if necessary.)
PLEASE TAKE FURTHER NOTICE that if the Proposed Transfer involves a purchase or
acquisition of Common Stock and/or Options to acquire Common Stock directly by the Filer and
such Proposed Transfer would result in (a) an increase in the beneficial ownership of Common
Stock and/or Options to acquire Common Stock by a person or Entity (other than the Filer) that
currently is a Substantial Stockholder or (b) a person or Entity (other than the Filer) becoming a
Substantial Stockholder, the following table sets forth (i) the name of each such person or Entity,
(ii) the number of shares of Common Stock and/or the number of shares of Common Stock
underlying Options that are beneficially owned by such person or Entity currently (i.e., prior to
the Proposed Transfer), and (iii) the number of shares of Common Stock and/or the number of
shares of Common Stock underlying Options that would be beneficially owned by such person or
Entity immediately following the Proposed Transfer (categorized by class, as applicable).
   Class            Name of     Shares Owned          Shares           Shares             Shares
                   Beneficial   Currently (i.e.,   to Be Owned       Underlying         Underlying
                    Owner          Prior to         Following          Options         Options to Be
                                  Proposed           Proposed          Owned              Owned
                                  Transfer)          Transfer       Currently (i.e.,    Following
                                                                       Prior to          Proposed
                                                                      Proposed           Transfer


                                                   2
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                                                                   Transfer)
 Common
  Stock
                              (Attach additional page if necessary.)
PLEASE TAKE FURTHER NOTICE that the taxpayer identification number of the Filer is
______________.
PLEASE TAKE FURTHER NOTICE that, under penalty of perjury, the Filer hereby declares
that it has examined this Notice and accompanying attachments (if any), and, to the best of its
knowledge and belief, this Notice and any attachments which purport to be part of this Notice are
true, correct, and complete.
 [[IF APPLICABLE:] The Filer is represented by [name of law firm], [address], [phone], (Attn:
[name of attorney]).]
                                             Respectfully submitted,


                                             [Name of Filer]

                                             By:
                                             Name:

                                             Address:


                                             Telephone:
                                             Facsimile:


                                             Date: _____________________




                                                3
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                                 Exhibit 4 to Interim Order

             Notice of Intent to Sell, Trade, or Otherwise Transfer Common Stock




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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

------------------------------------------------------------ X
                                                             :
In re                                                        :      Chapter 11
                                                             :
CHECKOUT HOLDING CORP., et al.,                              :      Case No. 18-[_____] (___)
                                                             :
                  Debtors.1                                  :      Joint Administration Requested
                                                             :
------------------------------------------------------------ X

                           NOTICE OF INTENT TO SELL, TRADE,
                        OR OTHERWISE TRANSFER COMMON STOCK

PLEASE TAKE NOTICE that, pursuant to that certain Interim Order Establishing Notification
Procedures and Approving (A) Restrictions on Certain Transfers of Interests in the Debtors and
(B) Claims of Certain Worthless Stock Deductions of the United States Bankruptcy Court for the
District of Delaware, dated [________], 2018, Docket No. [__] (with all exhibits thereto, the
“Interim Order”), [Name of Filer] (the “Filer”) hereby provides notice of (i) its intention to
sell, trade, or otherwise transfer or dispose of one or more shares of Common Stock2 and/or
Options to acquire Common Stock and/or (ii) a proposed sale, transfer, or disposition of
Common Stock and/or Options to acquire Common Stock that would result in a decrease in the
number of shares of Common Stock and/or number of shares of Common Stock underlying
Options to acquire Common Stock that are beneficially owned by the Filer (any proposed
transaction described in clauses (i) or (ii), a “Proposed Transfer”).
PLEASE TAKE FURTHER NOTICE that the following table sets forth the following
information:
1. If the Proposed Transfer involves the sale, transfer, or disposition directly by the Filer of
Common Stock and/or Options to acquire Common Stock, the table sets forth (a) the number of
shares of Common Stock and/or the number of shares of Common Stock underlying Options
proposed to be sold, transferred, or disposed of and (b) the date(s) of such Proposed Transfer
(categorized by class, as applicable).
2. If the Proposed Transfer involves the sale, transfer or disposition of Common Stock and/or
Options to acquire Common Stock by a person or Entity other than the Filer, but the Proposed

1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Catalina Marketing Corporation (9007); Catalina Marketing Procurement, LLC (9333); Catalina
Marketing Technology Solutions, Inc. (8728); Catalina Marketing Worldwide, LLC (9687); Cellfire Inc. (5599);
Checkout Holding Corp. (4651); Modiv Media, Inc. (3507); PDM Group Holdings Corporation (9148); PDM
Holdings Corporation (5025); PDM Intermediate Holdings A Corporation (6409); and PDM Intermediate Holdings
B Corporation (3278). The Debtors’ principal offices are located at 200 Carillon Parkway, St. Petersburg, FL
33716.
2
  Capitalized terms used, but not defined, herein shall have the meanings ascribed to them in Exhibit 1 to the
Interim Order.




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Transfer nonetheless would decrease the number of shares of Common Stock and/or number of
shares of Common Stock underlying Options that are beneficially owned by the Filer, the table
sets forth (a) the name(s) of each such person or Entity that proposes to sell, transfer, or dispose
of such Common Stock and/or Options; (b) the number of shares of Common Stock and/or
number of shares of Common Stock underlying Options proposed to be so sold, transferred, or
disposed of; and (c) the date(s) of such Proposed Transfer (categorized by class, as applicable).
     Class            Name of           Shares to Be Sold,         Shares Underlying       Date(s) of
                     Transferor      Transferred, or Disposed      Options to Be Sold,     Proposed
                                                Of                  Transferred, or        Transfer
                                                                      Disposed Of
   Common
    Stock
                                  (Attach additional page if necessary.)
PLEASE TAKE FURTHER NOTICE that the following table summarizes the Filer’s beneficial
ownership of Common Stock and/or Options to acquire Common Stock assuming that the
Proposed Transfer is approved and consummated as described above. The table sets forth, as of
immediately following the consummation of the Proposed Transfer, the number of shares of
Common Stock and/or the number of shares of Common Stock underlying Options (a) that
would be owned directly by the Filer and, (b) in the case of any beneficial ownership by the Filer
of Common Stock and/or Options that would be owned by another person or Entity as record or
legal owner, the name(s) of each prospective record or legal owner and the number of shares of
Common Stock and/or the number of shares of Common Stock underlying Options that would be
owned by each such record or legal owner (categorized by class, as applicable):
       Class              Name of              Shares to Be Owned          Shares Underlying Options
                          Owner                                                   to Be Owned
 Common Stock
                                  (Attach additional page if necessary.)
PLEASE TAKE FURTHER NOTICE that if the Proposed Transfer involves a sale, transfer, or
disposition of Common Stock and/or Options to acquire Common Stock directly by the Filer and
such Proposed Transfer would result in (a) a decrease in the beneficial ownership of Common
Stock and/or Options to acquire Common Stock by a person or Entity (other than the Filer) that
currently is a Substantial Stockholder or (b) a person or Entity (other than the Filer) becoming a
Substantial Stockholder, the following table sets forth (i) the name of each such person or Entity,
(ii) the number of shares of Common Stock and/or the number of shares of Common Stock
underlying Options that are beneficially owned by such person or Entity currently (i.e., prior to
the Proposed Transfer), and (iii) the number of shares of Common Stock and/or the number of
shares of Common Stock underlying Options that would be beneficially owned by such person or
Entity immediately following the Proposed Transfer (categorized by class, as applicable).




                                                    2
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    Class           Name of         Shares      Shares to Be        Shares            Shares
                   Beneficial      Owned           Owned          Underlying        Underlying
                    Owner        Currently       Following      Options Owned      Options to Be
                                 (i.e., Prior    Proposed       Currently (i.e.,      Owned
                                to Proposed       Transfer     Prior to Proposed    Following
                                  Transfer)                        Transfer)         Proposed
                                                                                     Transfer
  Common
   Stock
                                  (Attach additional page if necessary.)
PLEASE TAKE FURTHER NOTICE that the taxpayer identification number of the Filer is
______________.
PLEASE TAKE FURTHER NOTICE that, under penalty of perjury, the Filer hereby declares
that it has examined this Notice and accompanying attachments (if any), and, to the best of its
knowledge and belief, this Notice and any attachments which purport to be part of this Notice are
true, correct, and complete.
               [[IF APPLICABLE:] The Filer is represented by [name of law firm], [address],
[phone], (Attn: [name of attorney]).]

                                                 Respectfully submitted,


                                                 [Name of Filer]

                                                 By:
                                                 Name:

                                                 Address:


                                                 Telephone:
                                                 Facsimile:


                                                 Date: _____________________




                                                    3
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                                   Exhibit 5 to Interim Order

                         Declaration of Status as a Majority Stockholder




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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

------------------------------------------------------------ X
                                                             :
In re                                                        :      Chapter 11
                                                             :
CHECKOUT HOLDING CORP., et al.,                              :      Case No. 18-[_____] (___)
                                                             :
                  Debtors.1                                  :      Joint Administration Requested
                                                             :
------------------------------------------------------------ X

              DECLARATION OF STATUS AS A MAJORITY STOCKHOLDER

PLEASE TAKE NOTICE that, pursuant to that certain Interim Order Establishing Notification
Procedures and Approving (A) Restrictions on Certain Transfers of Interests in the Debtors and
(A) Claims of Certain Worthless Stock Deductions, dated [________], 2018, Docket No. [__]
(with all exhibits thereto, the “Interim Order”), [Name of Filer] (the “Filer”) hereby provides
notice that, as of the date hereof, the Filer is/has become a Majority Securities.2
PLEASE TAKE FURTHER NOTICE that, as of _________ ___, 2018, the Filer beneficially
owns ____ shares of and/or interests in Common Stock. The following table sets forth the
date(s) on which the Filer acquired such ownership or otherwise has ownership of such Common
Stock in an amount sufficient for the Filer to qualify as a Majority Stockholder:




              Number of Shares of and/or Interests                     Date(s) Acquired
                      in Common Stock




                                  (Attach additional pages if necessary.)


1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Catalina Marketing Corporation (9007); Catalina Marketing Procurement, LLC (9333); Catalina
Marketing Technology Solutions, Inc. (8728); Catalina Marketing Worldwide, LLC (9687); Cellfire Inc. (5599);
Checkout Holding Corp. (4651); Modiv Media, Inc. (3507); PDM Group Holdings Corporation (9148); PDM
Holdings Corporation (5025); PDM Intermediate Holdings A Corporation (6409); and PDM Intermediate Holdings
B Corporation (3278). The Debtors’ principal offices are located at 200 Carillon Parkway, St. Petersburg, FL
33716.
2
  Capitalized terms used, but not defined, herein shall have the meanings ascribed to them in Exhibit 1 to the
Interim Order.




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PLEASE TAKE FURTHER NOTICE that the taxpayer identification number of the Filer is
______________.
 [[IF APPLICABLE:] The Filer is represented by [name of law firm], [address], [phone], (Attn:
[name of attorney]).]
                                           Respectfully submitted,


                                           [Name of Filer]

                                           By:
                                           Name:

                                           Address:


                                           Telephone:
                                           Facsimile:
                                           Date: _________________________




                                              2
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                                   Exhibit 6 to Interim Order

                    Declaration of Intent to Claim a Worthless Stock Deduction




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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

------------------------------------------------------------ X
                                                             :
In re                                                        :      Chapter 11
                                                             :
CHECKOUT HOLDING CORP., et al.,                              :      Case No. 18-[_____] (___)
                                                             :
                  Debtors.1                                  :      Joint Administration Requested
                                                             :
------------------------------------------------------------ X

    DECLARATION OF INTENT TO CLAIM A WORTHLESS STOCK DEDUCTION

PLEASE TAKE NOTICE that, pursuant to that certain Interim Order Establishing Notification
Procedures and Approving (A) Restrictions on Certain Transfers of Interests in, [and Claims
Against,] the Debtors and (B) Claims of Certain Worthless Stock Deductions, dated [________],
2018, Docket No. [__] (with all exhibits thereto, the “Interim Order”), [Name of Filer] (the
“Filer”) hereby provides notice of its intention to claim a Worthless Stock Deduction2 with
respect to its Common Stock (a “Proposed Deduction”).
PLEASE TAKE FURTHER NOTICE that, if applicable, on ________ __, 20__, the Filer filed a
Declaration of Status as a Majority Stockholder with this Court.
PLEASE TAKE FURTHER NOTICE that the Filer currently beneficially owns ___ shares
and/or interests of Common Stock.
PLEASE TAKE FURTHER NOTICE that, pursuant to the Proposed Deduction, the Filer
proposes to claim a Worthless Stock Deduction with respect to ___ shares of and/or interests in
Common Stock. If the Proposed Deduction is permitted to occur, the Filer will be treated as
having acquired ___ shares of and/or interests in Common Stock on the first day of the Filer’s
next taxable year and shall be treated as never having owned such Common Stock during any
prior year for the purposes of testing whether an Ownership Change has occurred.
PLEASE TAKE FURTHER NOTICE that the taxpayer identification number of the Filer is
______________.
PLEASE TAKE FURTHER NOTICE that, under penalty of perjury, the Filer hereby declares
that it has examined this Declaration and accompanying attachments (if any), and, to the best of

1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Catalina Marketing Corporation (9007); Catalina Marketing Procurement, LLC (9333); Catalina
Marketing Technology Solutions, Inc. (8728); Catalina Marketing Worldwide, LLC (9687); Cellfire Inc. (5599);
Checkout Holding Corp. (4651); Modiv Media, Inc. (3507); PDM Group Holdings Corporation (9148); PDM
Holdings Corporation (5025); PDM Intermediate Holdings A Corporation (6409); and PDM Intermediate Holdings
B Corporation (3278). The Debtors’ principal offices are located at 200 Carillon Parkway, St. Petersburg, FL
33716.
2
  Capitalized terms used, but not defined, herein shall have the meanings ascribed to them in Exhibit 1 to the
Interim Order.



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its knowledge and belief, this Declaration and any attachments which purport to be part of this
Declaration are true, correct, and complete.
               [[IF APPLICABLE:] The Filer is represented by [name of law firm], [address],
[phone], (Attn: [name of attorney]).]

                                           Respectfully submitted,


                                           [Name of Filer]

                                           By:
                                           Name:

                                           Address:


                                           Telephone:
                                           Facsimile:


                                           Date: _____________________




                                              2
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                                 Exhibit 7 to Interim Order

                                 Interim Publication Notice




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ATTENTION DIRECT AND INDIRECT HOLDERS OF, AND PROSPECTIVE
HOLDERS OF STOCK ISSUED BY CHECKOUT HOLDING CORP. OR ITS
AFFILIATED COMPANIES:

Upon the motion (the “Motion”) of Checkout Holding Corp. and its affiliated companies (the
“Debtors”), on ____, 20__, the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”), having jurisdiction over the chapter 11 cases of the Debtors, captioned as
In re Checkout Holding Corp., et al., No. ____ (__) (the “Chapter 11 Cases”), entered an
interim order establishing procedures (the “Procedures”) with respect to direct and indirect
transfers of interests in the Debtors and claims of worthless stock deductions and scheduling a
hearing on a final order with respect to such Procedures.

In certain circumstances, the Procedures restrict (i) transactions involving, and require notices of
the holdings of and proposed transactions by, any person, group of persons, or entity that is or, as
a result of such a transaction, would become a Substantial Stockholder of the common stock
issued by PDM Group Holdings Corporation (the “Common Stock”) and (ii) claims by any
Majority Stockholder of a worthless stock deduction under section 165(g) of the Internal
Revenue Code with respect to the Common Stock. For purposes of the Procedures, a
“Substantial Stockholder” is any person or entity (including certain persons making a
coordinated acquisition) that beneficially owns, directly or indirectly (and/or owns options to
acquire) at least 40,973,634 shares of Common Stock (representing approximately 4.75% of all
issued and outstanding shares of Common Stock), and a “Majority Stockholder” is any person
that beneficially owns at least 409,736,340 shares of Common Stock (representing
approximately 47.5% of all issued and outstanding shares of Common Stock) or any person that
would be a “50-percent shareholder” (within the meaning of section 382(g)(4)(D) of the Internal
Revenue Code) of Common Stock (as defined in the Procedures) if such person claimed a
worthless stock deduction with respect to such securities. Any prohibited acquisition or other
transfer of, or claim of a worthless stock deduction with respect to, Common Stock will be null
and void ab initio and may lead to contempt, compensatory damages, punitive damages, or
sanctions being imposed by the Bankruptcy Court.


The Procedures, as approved on an interim basis and as requested on a final basis, are
available on the website of Prime Clerk LLC, the Debtors’ Court-approved claims agent,
located at https://cases.primeclerk.com/Catalina, and on the docket of the Chapter 11 Cases,
Docket No. _________ (__), which can be accessed via PACER at https://www.pacer.gov.

A direct or indirect holder of, or prospective holder of, securities issued by PDM Group
Holdings Corporation that may be or become a Substantial Stockholder, a Majority
Stockholder or a direct or indirect holder of, or prospective holder of, a substantial amount
of claims against the Debtors should consult the Procedures.


PLEASE TAKE NOTICE that the final hearing on the Motion shall be held on ____________,
20__, at _____ (Eastern Time), and any objections or responses to the Motion shall be in
writing, filed with the Court (with a copy delivered to Chambers), and served upon (i) Weil,
Gotshal & Manges LLP, 767 Fifth Avenue, New York, NY 10153 (Attn: [●]), as proposed


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counsel to the Debtors, and (ii) the Office of the United States Trustee for Region 3, 844 King
Street, Suite 2207, Wilmington, Delaware 19801 (Attn: [●]), in each case so as to be received no
later than 4:00 p.m. (Eastern Time) on ________, 2018.


PLEASE TAKE FURTHER NOTICE that the requirements set forth in the Procedures are in
addition to the requirements of Bankruptcy Rule 3001(e) and applicable securities, corporate,
and other laws and do not excuse non-compliance therewith.

Dated:       Wilmington, Delaware                  BY ORDER OF THE COURT
             [______], 20__




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                                           Exhibit B

                                      Proposed Final Order




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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

------------------------------------------------------------ X
                                                             :
In re                                                        :      Chapter 11
                                                             :
CHECKOUT HOLDING CORP., et al.,                              :      Case No. 18-[_____] (___)
                                                             :
                  Debtors.1                                  :      Joint Administration Requested
                                                             :
------------------------------------------------------------ X

                  FINAL ORDER ESTABLISHING NOTIFICATION
                 PROCEDURES AND APPROVING RESTRICTIONS
           ON CERTAIN TRANSFERS OF INTERESTS IN THE DEBTORS AND
              CLAIMING CERTAIN WORTHLESS STOCK DEDUCTIONS

                   Upon the motion (the “Motion”)2 of Checkout Holding Corp. and its affiliated

debtors in the above-captioned chapter 11 cases, as debtors and debtors in possession

(collectively, the “Debtors”), pursuant to sections 105(a) and 362 of title 11 of the United States

Code (the “Bankruptcy Code”), for an entry of interim and final orders establishing procedures

to protect the potential value of the Debtors’ consolidated net operating loss carryforwards

(the “NOLs”) and other tax benefits (collectively, the “Tax Attributes”) for use in connection

with the reorganization of the Debtors, all as more fully set forth in the Motion; and this Court

having jurisdiction to consider the Motion and the relief requested therein in accordance with

28 U.S.C. §§ 157(a)–(b) and 1334(b) and the Amended Standing Order of Reference from the

United States District Court for the District of Delaware, dated February 29, 2012; and

1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Catalina Marketing Corporation (9007); Catalina Marketing Procurement, LLC (9333); Catalina
Marketing Technology Solutions, Inc. (8728); Catalina Marketing Worldwide, LLC (9687); Cellfire Inc. (5599);
Checkout Holding Corp. (4651); Modiv Media, Inc. (3507); PDM Group Holdings Corporation (9148); PDM
Holdings Corporation (5025); PDM Intermediate Holdings A Corporation (6409); and PDM Intermediate Holdings
B Corporation (3278). The Debtors’ principal offices are located at 200 Carillon Parkway, St. Petersburg, FL
33716.
2
  Capitalized terms used, but not otherwise defined, herein shall have the same meanings ascribed to such terms in
the Motion.



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consideration of the Motion and the relief requested therein being a core proceeding pursuant to

28 U.S.C. § 157(b); and venue being proper before this Court pursuant to 28 U.S.C. §§ 1408 and

1409; and notice of the Motion having been given as provided in the Motion, and such notice

having been adequate and appropriate under the circumstances; and it appearing that no other or

further notice need be provided; and this Court having reviewed the Motion; and this Court

having held a hearing to consider the relief requested in the Motion on a final basis (the “Final

Hearing”); and this Court having entered an order granting the relief requested in the Motion on

an interim basis; and upon the Del Genio Declaration, filed contemporaneously with the Motion,

the record of the Interim Hearing, the Final Hearing, and all of the proceedings had before this

Court; and this Court having found and determined that the relief sought in the Motion is in the

best interests of the Debtors, their estates, creditors, and all parties in interest, and that the legal

and factual bases set forth in the Motion establish just cause for the relief granted herein; and

after due deliberation and sufficient cause appearing therefor,

                   IT IS HEREBY ORDERED THAT:

                   1.   The Motion is granted on a final basis as set forth herein.

                   2.   The provisions of this Final Order shall be effective nunc pro tunc to the

Commencement Date.

                   3.   The restrictions, notification requirements, and other procedures annexed

hereto as Exhibit 1 (the “Procedures”) are hereby approved and shall apply to all trading and

transfers of interests in the Debtors and all worthless stock deduction claims with respect to

interests in the Debtors; provided, that, the Debtors may, in their sole discretion, waive in

writing, any and all restrictions, stays, and notification procedures set forth in the Procedures.




                                                   2
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                   4.   Any acquisition, disposition, or trading of Common Stock or worthless

stock deduction claim with respect to Common Stock in violation of the Procedures shall be null

and void ab initio as an act in violation of the automatic stay under section 362 of the

Bankruptcy Code and pursuant to this Court’s equitable powers under section 105(a) of the

Bankruptcy Code. For purposes of this Final Order, any trades made before the entry of the

Interim Order shall not be subject to this Final Order.

                   5.   Any person or Entity that acquires, disposes of, or trades Common Stock

in violation of this Final Order or the Procedures or that otherwise fails to comply with their

requirements, including with respect to claiming a worthless stock deduction, shall be subject to

such sanctions as this Court may consider appropriate pursuant to this Court’s equitable power

under section 105(a) of the Bankruptcy Code.

                   6.   The notices substantially in the forms annexed hereto as Exhibit 2,

Exhibit 3, Exhibit 4, Exhibit 5 and Exhibit 6 are hereby approved.

                   7.   Within three (3) business days of the entry of this Order, the Debtors shall

send the notice of this Final Order (the “Notice of Final Order”) annexed hereto as Exhibit 7 to

all parties that were served with notice of the Motion, publish the Notice of Final Order once in

the national edition of The New York Times, and post the Procedures to the website established

by Prime Clerk LLC for these Chapter 11 Cases (which website address shall be identified in the

Notice of Final Order), such notice being reasonably calculated to provide notice to all parties

that may be affected by the Procedures, whether known or unknown, and no further notice of the

Procedures shall be necessary.




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                   8.    Nothing herein shall preclude any person or Entity desirous of purchasing

or transferring any interest in the Debtors from requesting relief from this Final Order from this

Court, subject to the Debtors’ rights to oppose such relief.

                   9.    Notice of the Motion as provided therein shall be deemed good and

sufficient notice of the Motion.

                   10.   The relief granted in this Final Order is intended solely to permit the

Debtors to protect, preserve, and maximize the value of their Tax Attributes; accordingly, other

than to the extent that this Final Order expressly conditions or restricts trading in interests in the

Debtors or making worthless stock deduction claims with respect to interests in the Debtors,

nothing in this Final Order or in the Motion shall, or shall be deemed to, prejudice, impair, or

otherwise alter or affect the rights of any holders of interests in the Debtors, including in

connection with the treatment of any such interests under the Prepackaged Plan or any applicable

bankruptcy court order.

                   11.   The requirements set forth in this Final Order are in addition to the

requirements of Bankruptcy Rule 3001(e) and applicable securities, corporate and other laws and

do not excuse noncompliance therewith.

                   12.   Notwithstanding Bankruptcy Rule 6004(h), this Final Order shall be

immediately effective and enforceable upon its entry.

                   13.   The Debtors are authorized to take all action necessary to effectuate the

relief granted in this Final Order.




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                   14.   This Court shall retain jurisdiction to hear and determine all matters

arising from or related to the implementation, interpretation and/or enforcement of this Final

Order.


Dated: ______________, 2018
       Wilmington, Delaware
                                             ____________________________________
                                             UNITED STATES BANKRUPTCY JUDGE




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                                  Exhibit 1 to Final Order

                                        Procedures




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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

------------------------------------------------------------ X
                                                             :
In re                                                        :          Chapter 11
                                                             :
CHECKOUT HOLDING CORP., et al.,                              :          Case No. 18-[_____] (___)
                                                             :
                  Debtors.1                                  :          Joint Administration Requested
                                                             :
------------------------------------------------------------ X

                        NOTICES, RESTRICTIONS, AND
                OTHER PROCEDURES REGARDING OWNERSHIP
      AND TRANSFERS OF (A) INTERESTS IN THE DEBTORS AND (B) CLAIMS OF
                 CERTAIN WORTHLESS STOCK DEDUCTIONS

TO ALL PERSONS OR ENTITIES WITH EQUITY INTERESTS IN THE DEBTORS:

           Pursuant to that certain Final Order Establishing Notification Procedures and Approving

Restrictions on (A) Certain Transfers of Interests in the Debtors and (B) Claims of Certain

Worthless Stock Deductions (the “Final Order”) entered by the United States Bankruptcy Court

for the District of Delaware (the “Bankruptcy Court”) on ____________, 20__, Docket No.

[____], the following restrictions, notification requirements, and/or other procedures

(collectively, the “Procedures”) apply to all trading and transfers of interests in the Debtors and

all claims of worthless stock deductions with respect to interests in the Debtors. 2




1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Catalina Marketing Corporation (9007); Catalina Marketing Procurement, LLC (9333); Catalina
Marketing Technology Solutions, Inc. (8728); Catalina Marketing Worldwide, LLC (9687); Cellfire Inc. (5599);
Checkout Holding Corp. (4651); Modiv Media, Inc. (3507); PDM Group Holdings Corporation (9148); PDM
Holdings Corporation (5025); PDM Intermediate Holdings A Corporation (6409); and PDM Intermediate Holdings
B Corporation (3278). The Debtors’ principal offices are located at 200 Carillon Parkway, St. Petersburg, FL
33716.
2
    Capitalized terms used, but not defined, herein shall have the meanings ascribed to them in the Final Order.




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A.      Common Stock Restrictions

(1)     Definitions. For purposes of these Procedures, the following terms have the following
        meanings:

      (a)    “Common Stock” shall mean any common stock issued by PDM Group Holdings
Corporation.

       (b)      “Option” shall mean any contingent purchase, warrant, convertible debt, put,
stock subject to risk of forfeiture, contract to acquire stock, or similar interest regardless of
whether it is contingent or otherwise not currently exercisable.

        (c)     “Beneficial ownership” of Common Stock and Options to acquire Common
Stock shall be determined in accordance with section 382 of the title 26 of the United States
Code (the “Tax Code”), the regulations promulgated by the U.S. Department of Treasury under
the Tax Code (the “Treasury Regulations”), and rulings issued by the Internal Revenue Service
(the “IRS”), and, thus, to the extent provided in those sources, from time to time shall include,
without limitation, (i) direct and indirect ownership, determined without regard to any rule that
treats stock of an entity as to which the constructive ownership rules apply as no longer owned
by that entity (e.g., a holding company would be considered to beneficially own all stock owned
or acquired by its subsidiaries), (ii) ownership by a holder’s family members, (iii) ownership by
any group of persons acting pursuant to a formal or informal understanding among themselves to
make a coordinated acquisition of stock, and (iv) to the extent set forth in Treasury Regulations
section 1.382-4, the ownership of an Option to acquire Common Stock.

       (d)    “Berkshire Stockholders” shall mean each of Berkshire Fund VIII, L.P.,
Berkshire Fund VIII-A, L.P., Berkshire Investors III LLC, and Berkshire Investors IV LLC.

       (e)     “Majority Stockholder” shall mean (i) any person that beneficially owns at least
409,736,340 shares of Common Stock (representing approximately 47.5% of all issued and
outstanding shares of Common Stock) or (ii) any person that would be a “50-percent
shareholder” (within the meaning of section 382(g)(4)(D) of the Tax Code) of Common Stock if
such person claimed a Worthless Stock Deduction at any time on or after the Commencement
Date, which, for the avoidance of doubt, shall include the Berkshire Stockholders.

       (f)    “Substantial Stockholder” shall mean any “entity” (as such term is defined in
Treasury Regulations section 1.382-3(a), an “Entity”) or person that beneficially owns at least
40,973,634 shares of Common Stock (representing approximately 4.75% of all issued and
outstanding shares of Common Stock).

(2)     Notice of Substantial Ownership. Any person or Entity that beneficially owns, at any
        time on or after the Commencement Date, Common Stock in an amount sufficient to
        qualify such person or Entity as a Substantial Stockholder shall file with the Bankruptcy
        Court, and serve upon (a) the Debtors, 200 Carillon Parkway, St. Petersburg, FL 33716
        (Attn: Shelly Schaffer and David Glogoff, Esq.); (ii) proposed counsel for the Debtors;
        (b) proposed counsel to the Debtors, (i) Weil, Gotshal & Manges LLP, 767 Fifth Avenue,
        New York, New York 10153 (Attn: Gary T. Holtzer, Esq.; Ronit J. Berkovich, Esq.;
        Jessica Liou, Esq.; and Kevin Bostel, Esq.) and (ii) Richards, Layton & Finger, P.A, 920


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        North King Street, Wilmington, Delaware 19801 (Attn: Mark D. Collins, Esq. and Jason
        Madron, Esq.); (c) counsel to any statutory committee of unsecured creditors appointed in
        these cases (a “Creditors’ Committee”); and (d) counsel to the lenders under the
        Debtors’ proposed debtor in possession financing facility (the “DIP Lenders”) and
        (v) Paul, Weiss, Rifkind, Wharton & Garrison LLP, 1285 Avenue of the Americas, New
        York, NY 10019 (Attn: Brian S. Hermann, Esq. and Robert A. Britton, Esq.), and Young
        Conaway Stargatt & Taylor, LLP, Rodney Square, 1000 North King Street, Wilmington,
        Delaware, 19801 (Attn: Pauline K. Morgan, Esq.), as counsel to the DIP Lenders and that
        ad hoc group of holders of term loans under the Second Lien Term Loan (collectively, the
        “Disclosure Parties”) a notice of such person’s or Entity’s substantial ownership (a
        “Substantial Stock Ownership Notice”), in substantially the form annexed to the Final
        Order as Exhibit 2, which describes specifically and in detail such person’s or Entity’s
        ownership of Common Stock, on or before the date that is the later of (x) twenty (20)
        calendar days after the entry of the order granting the requested relief or (y) ten (10)
        business days after such person or Entity qualifies as a Substantial Stockholder. At the
        election of the Substantial Stockholder, the Substantial Stock Ownership Notice to be
        filed with the Bankruptcy Court (but not the Substantial Stock Ownership Notice that is
        served upon Disclosure Parties) may be redacted to exclude the Substantial Stockholder’s
        taxpayer identification number and the amount of Common Stock that the Substantial
        Stockholder beneficially owns.

(3)     Acquisition of Common Stock. At least twenty (20) business days prior to the proposed
        date of any transfer of Common Stock or exercise of any Option to acquire Common
        Stock that would result in an increase in the amount of Common Stock beneficially
        owned by any person or Entity that currently is or, as a result of the proposed transaction,
        would be a Substantial Stockholder (a “Proposed Acquisition Transaction”), such
        person, Entity, or Substantial Stockholder (a “Proposed Transferee”) shall file with the
        Bankruptcy Court and serve upon the Disclosure Parties a notice of such Proposed
        Transferee’s intent to purchase, acquire, or otherwise accumulate Common Stock (an
        “Acquisition Notice”), in substantially the form annexed to the Final Order as Exhibit 3,
        which describes specifically and in detail the Proposed Acquisition Transaction. At the
        election of the Substantial Stockholder, the Acquisition Notice to be filed with the
        Bankruptcy Court (but not the Acquisition Notice that is served upon the Disclosure
        Parties) may be redacted to exclude the Substantial Stockholder’s taxpayer identification
        number and the amount of Common Stock that the Substantial Stockholder beneficially
        owns.

(4)     Disposition of Common Stock. At least twenty (20) business days prior to the proposed
        date of any transfer or other disposition of Common Stock that would result in either a
        decrease in the amount of Common Stock beneficially owned by a Substantial
        Stockholder or a person or Entity ceasing to be a Substantial Stockholder (a “Proposed
        Disposition Transaction” and, together with a Proposed Acquisition Transaction, a
        “Proposed Transaction”), such person, Entity, or Substantial Stockholder (a “Proposed
        Transferor”) shall file with the Bankruptcy Court and serve upon the Disclosure Parties
        a notice of such Proposed Transferor’s intent to sell, trade, or otherwise transfer Common
        Stock (a “Disposition Notice” and, together with an Acquisition Notice, a “Trading
        Notice”), in substantially the form annexed to the Final Order as Exhibit 4, which


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        describes specifically and in detail the Proposed Disposition Transaction. At the election
        of the Substantial Stockholder, the Disposition Notice to be filed with the Bankruptcy
        Court (but not the Disposition Notice that is served upon the Disclosure Parties) may be
        redacted to exclude the Substantial Stockholder’s taxpayer identification number and the
        amount of Common Stock that the Substantial Stockholder beneficially owns.

(5)     Notice of Status as a Majority Stockholder. Any person that currently is or becomes a
        Majority Stockholder shall file with the Bankruptcy Court and serve upon the Disclosure
        Parties a notice of such status (a “Majority Stockholder Notice”), in substantially the
        form annexed to the Final Order as Exhibit 5, which describes specifically and in detail
        such person’s ownership of Common Stock, on or before the date that is the later of (x)
        twenty (20) calendar days after the entry of the order granting the requested relief or (y)
        ten (10) business days after such person qualifies as a Majority Stockholder. At the
        election of the Majority Stockholder, the Majority Stockholder Notice to be filed with the
        Bankruptcy Court (but not the Majority Stockholder Notice that is served upon the
        Disclosure Parties) may be redacted to exclude the Majority Stockholder’s taxpayer
        identification number.

(6)     Notice of Intent to Claim a Worthless Stock Deduction. At least twenty (20) business
        days before a Majority Stockholder files any federal income tax return, or any
        amendment to such a return, claiming a Worthless Stock Deduction for a tax year of the
        Majority Stockholder ending before the effective date of the Plan, such Majority
        Stockholder shall file with the Bankruptcy Court and serve upon the Disclosure Parties
        advanced written notice of the intended tax deduction (a “Worthless Stock Deduction
        Notice”), in substantially the form annexed to the Final Order as Exhibit 6. At the
        election of the Majority Stockholder, the Worthless Stock Deduction Notice to be filed
        with the Bankruptcy Court (but not the Worthless Stock Deduction Notice that is served
        upon the Disclosure Parties) may be redacted to exclude the Majority Stockholder’s
        taxpayer identification number.

(7)     Objection Procedures. Objection Procedures. The Debtors and any Creditors’
        Committee shall have fifteen (15) business days after the filing of a Trading Notice or a
        Worthless Stock Deduction Notice (the “Objection Period”) to file with the Bankruptcy
        Court and serve on a Proposed Transferee or a Proposed Transferor, as the case may be,
        or a Majority Stockholder, as applicable, an objection (each, an “Objection”) to any
        Proposed Transaction described in such Trading Notice or any Worthless Stock
        Deduction described in such Worthless Stock Deduction Notice. If the Debtors or any
        Creditors’ Committee files an Objection by the expiration of the Objection Period (the
        “Objection Deadline”), then the applicable Proposed Transaction or Worthless Stock
        Deduction shall not be effective unless approved by a final and nonappealable order of
        the Bankruptcy Court. If neither the Debtors nor any Creditors’ Committee file an
        Objection by the Objection Deadline or if the Debtors and any and all Creditors’
        Committees provide written authorization to the Proposed Transferee or the Proposed
        Transferor, as the case may be, or the Majority Stockholder, as applicable, approving the
        Proposed Transaction or the Worthless Stock Deduction prior to the Objection Deadline,
        then such Proposed Transaction or Worthless Stock Deduction may proceed solely as
        specifically described in the applicable Trading Notice or Worthless Stock Deduction


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         Notice. Any further Proposed Transaction or Worthless Stock Deduction must be the
         subject of an additional Trading Notice or Worthless Stock Deduction Notice and
         Objection Period.

B.       Noncompliance with the Procedures.

Any acquisition, disposition, or trading of Common Stock in violation of these Procedures shall
be null and void ab initio as an act in violation of the automatic stay under section 362 of the
Bankruptcy Code and pursuant to the Bankruptcy Court’s equitable powers under section 105(a)
of the Bankruptcy Code. In the event that a Majority Stockholder claims a Worthless Stock
Deduction in violation of the Procedures, such Worthless Stock Deduction shall be null and void
ab initio as an act in violation of the automatic stay under section 362 of the Bankruptcy Code
and pursuant to the Bankruptcy Court’s equitable powers under section 105(a) of the Bankruptcy
Code, and such holder shall be required to file an amended federal income tax return revoking
such deduction. Furthermore, any person or Entity that acquires, disposes of, or trades Common
Stock or Claims against the Debtors or claims a Worthless Stock Deduction in violation of these
Procedures shall be subject to sanctions as provided by law.

C.       Debtors’ Right to Waive.

The Debtors may, in their sole discretion, waive, in writing, any and all restrictions, stays,
and notification Procedures contained in this Notice.


Dated:       Wilmington, Delaware                  BY ORDER OF THE COURT
             [________], 20__




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                                  Exhibit 2 to Final Order
                            Notice of Substantial Stock Ownership




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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

------------------------------------------------------------ X
                                                             :
In re                                                        :      Chapter 11
                                                             :
CHECKOUT HOLDING CORP., et al.,                              :      Case No. 18-[_____] (___)
                                                             :
                  Debtors.1                                  :      Joint Administration Requested
                                                             :
------------------------------------------------------------ X

                          NOTICE OF SUBSTANTIAL STOCK OWNERSHIP

PLEASE TAKE NOTICE that, pursuant to that certain Final Order Establishing Notification
Procedures and Approving Restrictions on (A) Certain Transfers of Interests in the Debtors and
(B) Claims of Certain Worthless Stock Deductions of the United States Bankruptcy Court for the
District of Delaware, dated [________], 2018, Docket No. [__] (with all exhibits thereto, the
“Final Order”), [Name of Filer] (the “Filer”) hereby provides notice that, as of the date hereof,
the Filer beneficially owns:
                   (i)    __________ shares of Common Stock,2

                   (ii)   Options to acquire __________ shares of Common Stock,

PLEASE TAKE FURTHER NOTICE that the taxpayer identification number of the Filer is
______________.
PLEASE TAKE FURTHER NOTICE that the following table sets forth the following
information:
For Common Stock and/or Options to acquire Common Stock that are owned directly by the
Filer, the table sets forth (a) the number of such shares and/or the number of shares underlying
Options beneficially owned by such Filer and (b) the date(s) on which such shares and/or
Options were acquired (categorized by class, as applicable).
In the case of Common Stock and/or Options to acquire Common Stock that are not owned
directly by the Filer but are nonetheless beneficially owned by the Filer, the table sets forth (a)
the name(s) of each record or legal owner of such shares of Common Stock and/or Options to

1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Catalina Marketing Corporation (9007); Catalina Marketing Procurement, LLC (9333); Catalina
Marketing Technology Solutions, Inc. (8728); Catalina Marketing Worldwide, LLC (9687); Cellfire Inc. (5599);
Checkout Holding Corp. (4651); Modiv Media, Inc. (3507); PDM Group Holdings Corporation (9148); PDM
Holdings Corporation (5025); PDM Intermediate Holdings A Corporation (6409); and PDM Intermediate Holdings
B Corporation (3278). The Debtors’ principal offices are located at 200 Carillon Parkway, St. Petersburg, FL
33716.
2
 Capitalized terms used, but not defined, herein shall have the meanings ascribed to them in Exhibit 1 to the Final
Order.



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acquire shares of Common Stock that are beneficially owned by the Filer, (b) the number of
shares of Common Stock and/or the number of shares of Common Stock underlying Options
beneficially owned by such Filer, and (c) the date(s) on which such Common Stock and/or
Options were acquired (categorized by class, as applicable).
        Class              Name of          Shares Owned        Shares Underlying    Date(s)
                           Owner                                 Options Owned      Acquired
  Common Stock
                             (Attach additional pages if necessary.)
[[IF APPLICABLE:] The Filer is represented by [name of law firm], [address], [phone], (Attn:
[name of attorney]).]
                                            Respectfully submitted,


                                            [Name of Filer]

                                            By:
                                            Name:

                                            Address:


                                            Telephone:
                                            Facsimile:
                                            Date: _________________________




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                                  Exhibit 3 to Final Order
       Notice of Intent to Purchase, Acquire, or Otherwise Accumulate Common Stock




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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

------------------------------------------------------------ X
                                                             :
In re                                                        :      Chapter 11
                                                             :
CHECKOUT HOLDING CORP., et al.,                              :      Case No. 18-[_____] (___)
                                                             :
                  Debtors.1                                  :      Joint Administration Requested
                                                             :
------------------------------------------------------------ X

                       NOTICE OF INTENT TO PURCHASE,
             ACQUIRE, OR OTHERWISE ACCUMULATE COMMON STOCK

PLEASE TAKE NOTICE that, pursuant to that certain Final Order Establishing Notification
Procedures and Approving Restrictions on (A) Certain Transfers of Interests in the Debtors and
(B) Claims of Certain Worthless Stock Deductions of the United States Bankruptcy Court for the
District of Delaware, dated [________], 2018, Docket No. [__] (with all exhibits thereto, the
“Final Order”), [Name of Filer] (the “Filer”) hereby provides notice of (i) its intention to
purchase, acquire, or otherwise accumulate directly one or more shares of Common Stock2
and/or Options to acquire Common Stock and/or (ii) a proposed purchase or acquisition of
Common Stock and/or Options to acquire Common Stock that would result in an increase in the
number of shares of Common Stock and/or number of shares of Common Stock underlying
Options that are beneficially owned by the Filer (any proposed transaction described in clauses
(i) or (ii), a “Proposed Transfer”).
PLEASE TAKE FURTHER NOTICE that the following table sets forth the following
information:
1. If the Proposed Transfer involves the purchase or acquisition directly by the Filer of Common
Stock and/or Options to acquire Common Stock, the table sets forth (a) the number of shares of
Common Stock and/or the number of shares of Common Stock underlying Options proposed to
be purchased or acquired and (b) the date(s) of such Proposed Transfer (categorized by class, as
applicable).
2. If the Proposed Transfer involves the purchase or acquisition of Common Stock and/or
Options to acquire Common Stock by a person or Entity other than the Filer, but the Proposed

1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Catalina Marketing Corporation (9007); Catalina Marketing Procurement, LLC (9333); Catalina
Marketing Technology Solutions, Inc. (8728); Catalina Marketing Worldwide, LLC (9687); Cellfire Inc. (5599);
Checkout Holding Corp. (4651); Modiv Media, Inc. (3507); PDM Group Holdings Corporation (9148); PDM
Holdings Corporation (5025); PDM Intermediate Holdings A Corporation (6409); and PDM Intermediate Holdings
B Corporation (3278). The Debtors’ principal offices are located at 200 Carillon Parkway, St. Petersburg, FL
33716.
2
 Capitalized terms used, but not defined, herein shall have the meanings ascribed to them in Exhibit 1 to the Final
Order.




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Transfer nonetheless would increase the number of shares of Common Stock and/or number of
shares of Common Stock underlying Options that are beneficially owned by the Filer, the table
sets forth (a) the name(s) of each such person or Entity that proposes to purchase or acquire such
shares of Common Stock and/or Options, (b) the number of shares of Common Stock and/or
number of shares of Common Stock underlying Options proposed to be purchased or acquired,
and (c) the date(s) of such Proposed Transfer (categorized by class, as applicable).
       Class              Name of         Shares to be         Shares Underlying          Date(s) of
                         Purchaser        Purchased or       Options to be Purchased      Proposed
                        or Acquirer         Acquired               or Acquired            Transfer
 Common Stock
                                 (Attach additional page if necessary.)
PLEASE TAKE FURTHER NOTICE that the following table summarizes the Filer’s beneficial
ownership of Common Stock and/or Options to acquire Common Stock assuming that the
Proposed Transfer is approved and consummated as described above. The table sets forth, as of
immediately following the consummation of the Proposed Transfer, the number of shares of
Common Stock and/or the number of shares of Common Stock underlying Options (a) that
would be owned directly by the Filer and, (b) in the case of any beneficial ownership by the Filer
of Common Stock and/or Options that would be owned by another person or Entity as record or
legal owner, the name(s) of each prospective record or legal owner and the number of shares of
Common Stock and/or the number of shares of Common Stock underlying Options that would be
owned by each such record or legal owner (categorized by class, as applicable):
        Class                    Name of            Shares to Be Owned         Shares Underlying
                                 Owner                                        Options to Be Owned
  Common Stock
                                 (Attach additional page if necessary.)
PLEASE TAKE FURTHER NOTICE that if the Proposed Transfer involves a purchase or
acquisition of Common Stock and/or Options to acquire Common Stock directly by the Filer and
such Proposed Transfer would result in (a) an increase in the beneficial ownership of Common
Stock and/or Options to acquire Common Stock by a person or Entity (other than the Filer) that
currently is a Substantial Stockholder or (b) a person’s or Entity’s (other than the Filer)
becoming a Substantial Stockholder, the following table sets forth (i) the name of each such
person or Entity, (ii) the number of shares of Common Stock and/or the number of shares of
Common Stock underlying Options that are beneficially owned by such person or Entity
currently (i.e., prior to the Proposed Transfer), and (iii) the number of shares of Common Stock
and/or the number of shares of Common Stock underlying Options that would be beneficially
owned by such person or Entity immediately following the Proposed Transfer (categorized by
class, as applicable).
   Class            Name of     Shares Owned          Shares           Shares             Shares
                   Beneficial   Currently (i.e.,   to Be Owned       Underlying         Underlying
                    Owner          Prior to         Following          Options         Options to Be
                                  Proposed           Proposed          Owned              Owned
                                  Transfer)          Transfer       Currently (i.e.,    Following
                                                                       Prior to          Proposed


                                                   2
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                                                                   Proposed         Transfer
                                                                   Transfer)
 Common
  Stock
                              (Attach additional page if necessary.)
PLEASE TAKE FURTHER NOTICE that the taxpayer identification number of the Filer is
______________.
PLEASE TAKE FURTHER NOTICE that, under penalty of perjury, the Filer hereby declares
that it has examined this Notice and accompanying attachments (if any), and, to the best of its
knowledge and belief, this Notice and any attachments which purport to be part of this Notice are
true, correct, and complete.
 [[IF APPLICABLE:] The Filer is represented by [name of law firm], [address], [phone], (Attn:
[name of attorney]).]
                                             Respectfully submitted,


                                             [Name of Filer]

                                             By:
                                             Name:

                                             Address:


                                             Telephone:
                                             Facsimile:


                                             Date: _____________________




                                                3
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                                  Exhibit 4 to Final Order

             Notice of Intent to Sell, Trade, or Otherwise Transfer Common Stock




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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

------------------------------------------------------------ X
                                                             :
In re                                                        :      Chapter 11
                                                             :
CHECKOUT HOLDING CORP., et al.,                              :      Case No. 18-[_____] (___)
                                                             :
                  Debtors.1                                  :      Joint Administration Requested
                                                             :
------------------------------------------------------------ X

                           NOTICE OF INTENT TO SELL, TRADE,
                        OR OTHERWISE TRANSFER COMMON STOCK

PLEASE TAKE NOTICE that, pursuant to that certain Final Order Establishing Notification
Procedures and Approving Restrictions on (A) Certain Transfers of Interests in the Debtors and
(B) Claims of Certain Worthless Stock Deductions, dated [________], 2018, Docket No. [__]
(with all exhibits thereto, the “Final Order”), [Name of Filer] (the “Filer”) hereby provides
notice of (i) its intention to sell, trade, or otherwise transfer or dispose of one or more shares of
Common Stock2 and/or Options to acquire Common Stock and/or (ii) a proposed sale, transfer,
or disposition of Common Stock and/or Options to acquire Common Stock that would result in a
decrease in the number of shares of Common Stock and/or number of shares of Common Stock
underlying Options to acquire Common Stock that are beneficially owned by the Filer (any
proposed transaction described in clauses (i) or (ii), a “Proposed Transfer”).
PLEASE TAKE FURTHER NOTICE that the following table sets forth the following
information:
1. If the Proposed Transfer involves the sale, transfer, or disposition directly by the Filer of
Common Stock and/or Options to acquire Common Stock, the table sets forth (a) the number of
shares of Common Stock and/or the number of shares of Common Stock underlying Options
proposed to be sold, transferred, or disposed of and (b) the date(s) of such Proposed Transfer
(categorized by class, as applicable).
2. If the Proposed Transfer involves the sale, transfer or disposition of Common Stock and/or
Options to acquire Common Stock by a person or Entity other than the Filer, but the Proposed
Transfer nonetheless would decrease the number of shares of Common Stock and/or number of

1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Catalina Marketing Corporation (9007); Catalina Marketing Procurement, LLC (9333); Catalina
Marketing Technology Solutions, Inc. (8728); Catalina Marketing Worldwide, LLC (9687); Cellfire Inc. (5599);
Checkout Holding Corp. (4651); Modiv Media, Inc. (3507); PDM Group Holdings Corporation (9148); PDM
Holdings Corporation (5025); PDM Intermediate Holdings A Corporation (6409); and PDM Intermediate Holdings
B Corporation (3278). The Debtors’ principal offices are located at 200 Carillon Parkway, St. Petersburg, FL
33716.
2
 Capitalized terms used, but not defined, herein shall have the meanings ascribed to them in Exhibit 1 to the Final
Order.



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shares of Common Stock underlying Options that are beneficially owned by the Filer, the table
sets forth (a) the name(s) of each such person or Entity that proposes to sell, transfer, or dispose
of such Common Stock and/or Options; (b) the number of shares of Common Stock and/or
number of shares of Common Stock underlying Options proposed to be so sold, transferred, or
disposed of; and (c) the date(s) of such Proposed Transfer (categorized by class, as applicable).
     Class            Name of           Shares to Be Sold,         Shares Underlying       Date(s) of
                     Transferor      Transferred, or Disposed      Options to Be Sold,     Proposed
                                                Of                  Transferred, or        Transfer
                                                                      Disposed Of
   Common
    Stock
                                  (Attach additional page if necessary.)
PLEASE TAKE FURTHER NOTICE that the following table summarizes the Filer’s beneficial
ownership of Common Stock and/or Options to acquire Common Stock assuming that the
Proposed Transfer is approved and consummated as described above. The table sets forth, as of
immediately following the consummation of the Proposed Transfer, the number of shares of
Common Stock and/or the number of shares of Common Stock underlying Options (a) that
would be owned directly by the Filer and, (b) in the case of any beneficial ownership by the Filer
of Common Stock and/or Options that would be owned by another person or Entity as record or
legal owner, the name(s) of each prospective record or legal owner and the number of shares of
Common Stock and/or the number of shares of Common Stock underlying Options that would be
owned by each such record or legal owner (categorized by class, as applicable):
       Class              Name of              Shares to Be Owned          Shares Underlying Options
                          Owner                                                   to Be Owned
 Common Stock
                                  (Attach additional page if necessary.)
PLEASE TAKE FURTHER NOTICE that if the Proposed Transfer involves a sale, transfer, or
disposition of Common Stock and/or Options to acquire Common directly by the Filer and such
Proposed Transfer would result in (a) a decrease in the beneficial ownership of Common Stock
and/or Options to acquire Common Stock by a person or Entity (other than the Filer) that
currently is a Substantial Stockholder or (b) a person’s or Entity’s (other than the Filer)
becoming a Substantial Stockholder, the following table sets forth (i) the name of each such
person or Entity, (ii) the number of shares of Common Stock and/or the number of shares of
Common Stock underlying Options that are beneficially owned by such person or Entity
currently (i.e., prior to the Proposed Transfer), and (iii) the number of shares of Common Stock
and/or the number of shares of Common Stock underlying Options that would be beneficially
owned by such person or Entity immediately following the Proposed Transfer (categorized by
class, as applicable).




                                                    2
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   Class            Name of     Shares Owned       Shares to Be          Shares            Shares
                   Beneficial   Currently (i.e.,      Owned           Underlying         Underlying
                    Owner          Prior to         Following        Options Owned      Options to Be
                                  Proposed          Proposed         Currently (i.e.,      Owned
                                  Transfer)          Transfer           Prior to         Following
                                                                       Proposed           Proposed
                                                                       Transfer)          Transfer
 Common
  Stock
                                   (Attach additional page if necessary.)
PLEASE TAKE FURTHER NOTICE that the taxpayer identification number of the Filer is
______________.
PLEASE TAKE FURTHER NOTICE that, under penalty of perjury, the Filer hereby declares
that it has examined this Notice and accompanying attachments (if any), and, to the best of its
knowledge and belief, this Notice and any attachments which purport to be part of this Notice are
true, correct, and complete.
               [[IF APPLICABLE:] The Filer is represented by [name of law firm], [address],
[phone], (Attn: [name of attorney]).]

                                                   Respectfully submitted,


                                                   [Name of Filer]

                                                   By:
                                                   Name:

                                                   Address:


                                                   Telephone:
                                                   Facsimile:


                                                   Date: _________________________




                                                      3
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                                    Exhibit 5 to Final Order

                         Declaration of Status as a Majority Stockholder




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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

------------------------------------------------------------ X
                                                             :
In re                                                        :      Chapter 11
                                                             :
CHECKOUT HOLDING CORP., et al.,                              :      Case No. 18-[_____] (___)
                                                             :
                  Debtors.1                                  :      Joint Administration Requested
                                                             :
------------------------------------------------------------ X

              DECLARATION OF STATUS AS A MAJORITY STOCKHOLDER

PLEASE TAKE NOTICE that, pursuant to that certain Final Order Establishing Notification
Procedures and Approving Restrictions on (A) Certain Transfers of Interests in the Debtors and
(B) Claims of Certain Worthless Stock Deductions, dated [________], 2018, Docket No. [__]
(with all exhibits thereto, the “Final Order”), [Name of Filer] (the “Filer”) hereby provides
notice that, as of the date hereof, the Filer is/has become a Majority Stockholder.2
PLEASE TAKE FURTHER NOTICE that, as of _________ ___, 2018, the Filer beneficially
owns ___ shares of and/or interests in Common Stock. The following table sets forth the date(s)
on which the Filer acquired such ownership or otherwise has ownership of such Common Stock
in an amount sufficient for the Filer to qualify as a Majority Stockholder:




              Number of Shares of and/or Interests                     Date(s) Acquired
                      in Common Stock




                                  (Attach additional pages if necessary.)


1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Catalina Marketing Corporation (9007); Catalina Marketing Procurement, LLC (9333); Catalina
Marketing Technology Solutions, Inc. (8728); Catalina Marketing Worldwide, LLC (9687); Cellfire Inc. (5599);
Checkout Holding Corp. (4651); Modiv Media, Inc. (3507); PDM Group Holdings Corporation (9148); PDM
Holdings Corporation (5025); PDM Intermediate Holdings A Corporation (6409); and PDM Intermediate Holdings
B Corporation (3278). The Debtors’ principal offices are located at 200 Carillon Parkway, St. Petersburg, FL
33716.
2
 Capitalized terms used, but not defined, herein shall have the meanings ascribed to them in Exhibit 1 to the Final
Order.




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PLEASE TAKE FURTHER NOTICE that the taxpayer identification number of the Filer is
______________.
 [[IF APPLICABLE:] The Filer is represented by [name of law firm], [address], [phone], (Attn:
[name of attorney]).]
                                           Respectfully submitted,


                                           [Name of Filer]

                                           By:
                                           Name:

                                           Address:


                                           Telephone:
                                           Facsimile:
                                           Date: _________________________




                                              2
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                                     Exhibit 6 to Final Order

                    Declaration of Intent to Claim a Worthless Stock Deduction




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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

------------------------------------------------------------ X
                                                             :
In re                                                        :      Chapter 11
                                                             :
CHECKOUT HOLDING CORP., et al.,                              :      Case No. 18-[_____] (___)
                                                             :
                  Debtors.1                                  :      Joint Administration Requested
                                                             :
------------------------------------------------------------ X

    DECLARATION OF INTENT TO CLAIM A WORTHLESS STOCK DEDUCTION

PLEASE TAKE NOTICE that, pursuant to that certain Final Order Establishing Notification
Procedures and Approving Restrictions on (A) Certain Transfers of Interests in the Debtors and
(B) Claims of Certain Worthless Stock Deductions, dated [________], 2018, Docket No. [__]
(with all exhibits thereto, the “Final Order”), [Name of Filer] (the “Filer”) hereby provides
notice of its intention to claim a Worthless Stock Deduction2 with respect to its Common Stock
(a “Proposed Deduction”).
PLEASE TAKE FURTHER NOTICE that, if applicable, on ________ __, 20__, the Filer filed a
Declaration of Status as a Majority Stockholder with this Court.
PLEASE TAKE FURTHER NOTICE that the Filer currently beneficially owns ___ shares of
and/or interests in Common Stock.
PLEASE TAKE FURTHER NOTICE that, pursuant to the Proposed Deduction, the Filer
proposes to claim a Worthless Stock Deduction with respect to ___ shares of and/or interests in
Common Stock. If the Proposed Deduction is permitted to occur, the Filer will be treated as
having acquired ___ shares of and/or interests in Common Stock on the first day of Filer’s next
taxable year and shall be treated as never having owned such Common Stock during any prior
year for the purposes of testing whether an Ownership Change has occurred.
PLEASE TAKE FURTHER NOTICE that the taxpayer identification number of the Filer is
______________.
PLEASE TAKE FURTHER NOTICE that, under penalty of perjury, the Filer hereby declares
that it has examined this Declaration and accompanying attachments (if any), and, to the best of

1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Catalina Marketing Corporation (9007); Catalina Marketing Procurement, LLC (9333); Catalina
Marketing Technology Solutions, Inc. (8728); Catalina Marketing Worldwide, LLC (9687); Cellfire Inc. (5599);
Checkout Holding Corp. (4651); Modiv Media, Inc. (3507); PDM Group Holdings Corporation (9148); PDM
Holdings Corporation (5025); PDM Intermediate Holdings A Corporation (6409); and PDM Intermediate Holdings
B Corporation (3278). The Debtors’ principal offices are located at 200 Carillon Parkway, St. Petersburg, FL
33716.
2
 Capitalized terms used, but not defined, herein shall have the meanings ascribed to them in Exhibit 1 to the Final
Order.




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its knowledge and belief, this Declaration and any attachments which purport to be part of this
Declaration are true, correct, and complete.
               [[IF APPLICABLE:] The Filer is represented by [name of law firm], [address],
[phone], (Attn: [name of attorney]).]

                                           Respectfully submitted,


                                           [Name of Filer]

                                           By:
                                           Name:

                                           Address:


                                           Telephone:
                                           Facsimile:


                                           Date: _____________________




                                              2
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                                  Exhibit 7 to Final Order

                                  Final Publication Notice




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ATTENTION DIRECT AND INDIRECT HOLDERS OF, AND PROSPECTIVE
HOLDERS OF, STOCK ISSUED BY CHECKOUT HOLDING CORP. OR ITS
AFFILIATED COMPANIES:

Upon the motion (the “Motion”) of Checkout Holding Corp. and its affiliated companies (the
“Debtors”), on [____________, 2018], the United States Bankruptcy Court for the District of
Delaware (the “Bankruptcy Court”), having jurisdiction over the chapter 11 cases of the
Debtors, captioned as In re Checkout Holding Corp., et al., No. ____ (__) (the “Chapter 11
Cases”), entered a final order establishing procedures (the “Procedures”) with respect to direct
and indirect transfers of interests in the Debtors and claims of worthless stock deductions with
respect to interests in the Debtors.

In certain circumstances, the Procedures restrict (i) transactions involving, and require notices of
the holdings of and proposed transactions by, any person, group of persons, or entity that is or, as
a result of such a transaction, would become a Substantial Stockholder of the common stock
issued by PDM Group Holdings Corporation (the “Common Stock”) and (ii) claims by any
Majority Stockholder of a worthless stock deduction under section 165(g) of the Internal
Revenue Code with respect to the Common Stock. For purposes of the Procedures, a
“Substantial Stockholder” is any person or entity (within the meaning of applicable regulations
promulgated by the U.S. Department of the Treasury, including certain persons making a
coordinated acquisition of stock) that beneficially owns, directly or indirectly (and/or owns
options to acquire) at least 40,973,634 shares of Common Stock (representing approximately
4.75% of all issued and outstanding shares of Common Stock) and a “Majority Stockholder” is
any person that beneficially owns at least 409,736,340 shares of Common Stock (representing
approximately 47.5% of all issued and outstanding shares of Common Stock) or any person that
would be a “50-percent shareholder” (within the meaning of section 382(g)(4)(D) of the Internal
Revenue Code) of Common Stock (as defined in the Procedures) if such person claimed a
worthless stock deduction with respect to such securities. Any prohibited acquisition or other
transfer of, or claim of a worthless stock deduction with respect to, Common Stock will be null
and void ab initio and may lead to contempt, compensatory damages, punitive damages, or
sanctions being imposed by the Bankruptcy Court.
The Procedures are available on the website of Prime Clerk LLC, the Debtors’ Court-approved
claims agent, located at https://cases.primeclerk.com/Catalina, and on the docket of the
Chapter 11 Cases, Docket No. _____, which can be accessed via PACER at
https://www.pacer.gov.

The requirements set forth in the Procedures are in addition to the requirements of Bankruptcy
Rule 3001(e) and applicable securities, corporate, and other laws and do not excuse
noncompliance therewith.

A direct or indirect holder of, or prospective holder of, stock issued by PDM Group
Holdings Corporation that may be or become a Substantial Stockholder against the
Debtors should consult the Procedures.




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Dated:       Wilmington, Delaware                 BY ORDER OF THE COURT
             [________], 201__




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